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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

Estate of Avraham Sasi,
 by his heir-at-law, Ester Sasi,
                                                Case No.
Terri Peterson,
Trudi Daub,
                                                COMPLAINT
David Daub,
Koren Hazoutte,
Guil Gaston Hazoutte,
Yakir Alfred Hazoutte,
Boaz Shalom Hazoutte,
Amos Hazoutte,
Maayan Gani Hazoutte,
Amit Siman-Tov Vahaba,
Yishai Vahaba,
Gaya Vahaba,
Neta Vahaba,
Noam Vahaba,
Shailo Vahaba
Shachar Rafael Butler,
Shlomo Sharf,
Anat Sharf,
Ofer Naim,
Estate of May Naim,
 by her heirs-at-law, Ofer Naim and Anat
 Sharf,
Shelly Naim,
Tal Naim,
Ran Naim,
Ester Sasi,
Moran Sasi,
Natalie Sasi,
Danielle Sasi,
Maor Perez,
Raphael Benavi Sasi Perez,
Samantha Meltz,
Eli Sasi,
Lee Meltz Sasi,
Elin Levy Sasi,
Daniel Lawrence Sasi,
Tal Meltz Sasi,
Gital Sasi,
Shulamith Zani,
Ronit Rahoum,
Ester Halif,
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Yosef Sasi,
Amit Sasi,
Bekhor Sassi,
Meir Sasy,
Vito Sasy,
Izhak Sasi,
Yaaqov Sasi,
Yehuda Beinin,
Chaya Beinin,
Tal Beinin,
Liat Atzili,
Ofri Atzili,
Netta Atzili,
Ayah Atzili,
Jessica Timmer,
Estate of Tamar Cynthia Flash,
  by her heirs-at-law, Keren Flash, Maayan
  Flash, and Tali Flash,
Keren Flash,
Maayan Flash,
Tali Flash,
Margarita Shtivelman,
Guram Beniashvili,
Iris Weinstein Haggai,
Ahl Haggai,
Rahm Haggai,
Zohar Haggai,
Estate of Judy Lynne Weinstein,
  by her heirs-at-law, Iris Weinstein Haggai,
  Ahl Haggai, Rahm Haggai, and Zohar
  Haggai, and
Estate of Gad Haggai,
  by his heirs-at-law, Iris Weinstein Haggai,
  Ahl Haggai, Rahm Haggai, and Zohar Haggai

                               Plaintiffs,

                    v.

Islamic Republic of Iran
c/o Foreign Minister
Ministry of Foreign Affairs
Khomeini Ave., United Nations St.
Tehran, Iran

                               Defendant.



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                                  NATURE OF THE ACTION

       1.      The 67 Plaintiffs who bring this lawsuit are United States citizens and their family

members who were victims of the October 7, 2023 attack in Southern Israel. That attack was an

infamous, premeditated, and coordinated massacre in which terrorists murdered 1,200 people and

injured nearly 5,000 more in the deadliest killing of Jews since the Holocaust. Although the

October 7 attack was executed largely by Harakat al-Muqawama al-Islamiya, commonly known

as Hamas, and its fellow designated foreign terrorist organization known as Palestinian Islamic

Jihad, it was masterminded and funded by the Islamic Republic of Iran—a sworn enemy of Israel

and the United States that has publicly claimed credit for the October 7 atrocities as “acts of

revenge.”

       2.      In many places across the world, Iran’s actions have been met with silence. But

Plaintiffs will not be silent. And the laws of the United States are not silent either. Acting

through their representatives in Congress, the American people have passed laws that provide a

remedy in federal court for precisely the kind of harms that Iran has inflicted. Plaintiffs therefore

bring this action to vindicate their rights and those of their loved ones—and to hold the

government of Iran accountable.

       3.      Plaintiffs’ experiences on October 7 illustrate the depravity of Iran’s wrongdoing.

Yahonatan Siman-Tov—an American citizen and the brother of Plaintiffs Koren Hazoutte and

Amit Vahaba—was at home in Kibbutz Nir Oz with his wife and three children when the

terrorists arrived. The family took refuge in their safe room, with Yahonatan and his wife,

Tamar, barricading the door to protect their children. The terrorists fired a hail of bullets through

the door, badly wounding Yahonatan and Tamar, but they failed to breach it. Frustrated, the




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terrorists lit the home on fire, condemning the five family members to death by suffocation and

incineration. Their charred bodies were discovered holding onto one another in a final embrace.

       4.      Other Plaintiffs and their immediate family members endured similar brutality.

Carol Siman-Tov, Yahonatan’s 70-year old mother (and the mother of Plaintiffs Koren Hazoutte

and Amit Vahaba), was executed in the October 7 attack as she sheltered alone, with her dog.

Plaintiff May Naim was fatally injured in a hail of machine gun fire, hand grenades, and a

Molotov cocktail while inside a shelter near the Nova music festival; her death was witnessed by

Plaintiff Danielle Sasi who was shot and riddled with shrapnel while hiding for hours under the

bloodied and lifeless bodies of those murdered around her in the shelter. Danielle’s father,

Avraham Sasi, was murdered by the grenade blast he took at the entrance to that shelter, where

he had positioned himself to protect those sheltering within. Plaintiff Liat Atzili was kidnapped

from her home and held hostage in Gaza for nearly two months. Hamas murdered her husband,

Aviv Atzili, while he was defending their neighbors in the early hours of Hamas’s attack.

Further details for each Plaintiff are provided below.

       5.      As evidenced by the extensive factual allegations below, Iran bears direct

responsibility for the October 7 attacks. Indeed, that point is essentially undisputed. The Iranian

regime has openly flaunted its motive for aiding the horrors. On December 27, Iran’s ISNA

news agency published a statement by an official spokesperson for Iran’s Islamic Revolutionary

Guard Corps (IRGC), General Ramezan Sharif, in which Iran took credit for the October 7

attacks as “acts of revenge for the assassination of [Iranian] Quds Force commander Qassem

Soleimani by the US and the Zionists.”1




1
  https://english.alarabiya.net/News/middle-east/2023/12/27/Iran-s-IRGC-says-Oct-7-attacks-
on-Israel-were-revenge-for-Soleimani-Hamas-denies.


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       6.        Although Iran’s leadership attempts to act with impunity by hiding within its

territorial borders, Iranian government assets outside of Iran are substantial, not so well hidden,

and subject to being seized to satisfy the judgments of this Court. No court can bring the

murdered victims back to life, heal the injured, or undo the incalculable damage that the October

7 attack has inflicted on Plaintiffs, their families, their homes, and their communities. But the

judgment this Court can render, and the enforcement of that judgment against Iranian assets

around the world, can provide a fund from which Plaintiffs can begin to rebuild and restore some

semblance of humanity in their lives. Accordingly, Plaintiffs bring this suit for compensation

from Iran for the horrific injuries—death, dismemberment, burning, hostage-taking, and other

forms of torture and physical trauma—inflicted upon them by the October 7 attack. Plaintiffs

recognize that prosecuting this litigation to completion may be complex and take time, but they

are prepared to do whatever is required to deliver justice for the atrocities Iran directed, armed,

and paid for.

                                  JURISDICTION AND VENUE

       7.        This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1605A(a)(2)(A)

(“The court shall hear a claim under this section if … the foreign state was designated as a state

sponsor of terrorism …; [and] the claimant or the victim was … a national of the United

States …”). The Court also has jurisdiction pursuant to 28 U.S.C. §§ 1330(a)-(b) (for actions

against a foreign state), 1331 (federal question jurisdiction), and 1367(b) (supplemental

jurisdiction).

       8.        This Court has personal jurisdiction over the Islamic Republic of Iran pursuant to

28 U.S.C. § 1330(b) (“Personal jurisdiction over a foreign state shall exist as to every claim for

relief over which the district courts have jurisdiction under subsection (a) where service has been




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made under section 1608 of this title.”). The case presents “claim[s] for relief in personam with

respect to which the foreign state is not entitled to immunity under sections 1605 to 1607 of this

title [28].” 28 U.S.C. § 1330(a). The Islamic Republic of Iran is not immune from suit in this

case because “money damages are sought against a foreign state for personal injury or death that

was caused by an act of torture, extrajudicial killing, [and] hostage taking, [and] the provision of

material support or resources for such an act.” 28 U.S.C. § 1605A(a) (“A foreign state shall not

be immune from the jurisdiction of courts of the United States or of the States in any case not

otherwise covered by this chapter in which money damages are sought against a foreign state for

personal injury or death that was caused by an act of torture, extrajudicial killing, aircraft

sabotage, hostage taking, or the provision of material support or resources for such an act if such

act or provision of material support or resources is engaged in by an official, employee, or agent

of such foreign state while acting within the scope of his or her office, employment, or agency.”).

       9.      Venue is proper under 28 U.S.C. § 1391(f)(4) (“A civil action against a foreign

state … may be brought … in the United States District Court for the District of Columbia.”).

                                          THE PARTIES2

       10.     Plaintiff Koren Hazoutte is a United States citizen who lived in Nir Oz, Israel,

with her husband, Plaintiff Guil Gaston Hazoutte, and their four children. Plaintiff Amit Vahaba

is a United States citizen who lived in Nir Oz with her husband, Plaintiff Yishai Vahaba, an

American citizen, and their American children, Gaya, Neta, Noam, and Shailo Vahaba. Amit

and Koren’s mother, Carol Siman-Tov, lived in Nir Oz and was executed in the October 7

Attack. Koren sheltered in her safe room, together with her husband and their American-citizen




2
   To enable the Court to more easily track the events and relationships between Plaintiffs and
their family members, Plaintiffs are frequently referred to herein by their first names.


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children, Plaintiffs Yakir, Boaz, Amos, and Maayan, as terrorists attempted to break in.

Terrorists murdered their family next door (Koren and Amit’s brother, Yahonatan, with his wife

and children) and lit fire to Plaintiff Amit Vahaba’s house across the street, with Plaintiff Yishai

Vahaba, and children Gaya, Neta, Noam, and Shailo Vahaba, all inside. The terrorists looted and

vandalized Koren’s and Amit’s homes at the same time that Koren and Amit were attempting to

shelter there.

        11.      Carol Siman-Tov’s siblings, Plaintiffs Terri Peterson, Trudi Daub, and David

Daub, are United States citizens living in Pennsylvania and New Jersey.

        12.      Plaintiff Shachar Butler is a United States citizen who lived in Nir Oz, Israel with

his wife and three young children. Shachar was shot and injured in the October 7 Attack while

terrorists shot bullets and tossed grenades at his home, blew up his truck, and stole the family’s

car, outdoor equipment, and their children’s toys.

        13.      May Naim was a United States citizen who lived in Gan Chaim, Israel with her

parents, Plaintiffs Anat Sharf (married name: Naim) and Ofer Naim, and her siblings, Plaintiffs

Shelly Naim, Tal Naim, Ran Naim, and next door to her grandfather, Plaintiff Shlomo Sharf, an

Israeli citizen. Anat Sharf, Shelly Naim, Tal Naim, and Ran Naim are American citizens. May

was murdered in the October 7 Attack at a bomb shelter outside the Nova festival. May Naim is

survived by her parents Anat Sharf and Ofer Naim, who bring this suit on her behalf as

representatives of Plaintiff the Estate of May Naim.

        14.      Avraham Sasi was an American citizen from Woodland Hills, California.

Plaintiff the Estate of Avraham Sasi is represented by Avraham’s wife, Plaintiff Ester Sasi, a

United States citizen from Woodland Hills, California. Avraham’s daughters, Plaintiffs Moran,

Natalie, and Danielle Sasi, are United States citizens who live in California. Avraham’s niece,




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Plaintiff Gital Sasi, is a United States citizen who lives in Los Angeles, California. Avraham

was a father to her in Los Angeles because her biological parents live in Israel. Avraham’s

nephew, Plaintiff Amit Sasi, is a United States citizen living in California. Avraham was Amit’s

godfather and took Amit in like a son in California because Amit’s biological parents lived in

Israel. Avraham’s sibling Plaintiff Yaaqov Sasi is a United States citizens living in California.

Avraham’s siblings Plaintiffs Bekhor Sassi and Meir Sasy are United States citizens living in

Israel. Avraham’s sibling Plaintiff Izhak Sasi is a U.S. permanent resident living in California.

Avraham’s siblings, Plaintiffs Ronit Rahoum, Ester Halif, Yosef Sasi, Shulamith Zani, and Vito

Sasy, are Israeli citizens. Avraham Sasi was murdered by Hamas in the October 7 Attack.

Danielle Sasi was shot in the leg. Danielle’s husband, Plaintiff Maor Perez, is a U.S. permanent

resident. Danielle’s and Maor’s son, Plaintiff Raphael Perez, is a U.S. citizen living with his

parents in California. Avraham’s niece, Plaintiff Lee Meltz Sasi, is a United States citizen.

Danielle, Maor, and Lee survived a series of attacks by Hamas in the roadside shelter where

Avraham (and May Naim and many others) were murdered. Avraham’s brother and Lee’s

father, Plaintiff Eli Sasi, and Lee’s mother, Plaintiff Samantha Meltz, are United States citizens

living in California. Lee’s siblings, Plaintiffs Tal and Daniel Sasi, are United States citizens

living in California. Lee’s sister Plaintiff Elin Sasi is a United States citizen living in Nevada.

       15.     Plaintiff Margarita Shtivelman (married name: Yedid) is a United States citizen

who lives in Haifa, Israel. Margarita’s husband, Guy Yedid, was shot in his hip while he and

Margarita hid under a ticket booth counter, for 7½ hours, at the Nova music festival.

       16.     Plaintiff Liat Atzili (née Beinin) is a United States citizen who lived in Nir Oz,

Israel. Her children, Plaintiffs Ofri, Netta, and Ayah Atzili, are United States citizens. Liat’s

parents are Plaintiffs Yehuda Beinin and Chaya Beinin (née Gelbs) and Liat’s sister is Plaintiff




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Tal Beinin. Hamas murdered Liat’s husband, Aviv Atzili—the father of Ofri, Netta, and Ayah.

Hamas kidnapped Liat and held her hostage in Gaza for 52 days, from October 7 to November

28, 2023.

       17.     Plaintiff Keren Flash is a United States citizen who lived in Kfar Aza with her

husband and daughter. Plaintiff Maayan Flash is a United States citizen who lives in Jerusalem.

Plaintiff Tali Flash is a United States citizen who lives in San Francisco, California. Their

mother, Tamar Cynthia Flash (“Cindy”), was a United States citizen who lived in Kfar Aza with

their father, Igal. Cindy and Igal were murdered in the October 7 Attack. Keren was confined to

her home’s safe room with her husband and their baby for approximately 16 hours that day,

before being rescued by the Israel Defense Forces. Plaintiff the Estate of Tamar Cynthia Flash is

represented here by Keren, Maayan, and Tali Flash.

       18.     Plaintiff Jessica Timmer is a United States citizen who lived in Kfar Aza with her

partner Nadav Amikam and their two young children. Nadav Amikam was murdered in the

October 7 Attack. Hamas occupied their home for strategic benefit during the October 7 Attack

and then ransacked it, riddled it with bullet holes and spent shell casings, and left it splashed and

soaked in blood.

       19.     Plaintiff Guram Beniashvili is a United States citizen who lives in Brooklyn, New

York. His son, Sagiv Baylin Ben Zvi was shot in the head while fleeing the Nova music festival

and driving near Mefalsim.

       20.     Plaintiffs Rahm Haggai, Iris Weinstein Haggai, Ahl Haggai, and Zohar Haggai

are U.S. citizens living in Colorado, Singapore, and Israel, respectively. Their mother, U.S.

citizen Judy Weinstein, was shot by Hamas terrorists outside Nir Oz, Israel and then taken

hostage to Gaza where her body remains. Their father, U.S. citizen Gad Haggai, was murdered




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by Hamas terrorists in Judy’s presence and his body was taken to Gaza, where it remains. Judy

and Gad are represented here by Plaintiffs the Estate of Judy Lynne Weinstein and the Estate of

Gad Haggai.

         21.    The U.S. Citizen Plaintiffs are the Estate of Avraham Sasi, Terri Peterson, Trudi

Daub, David Daub, Amit Siman-Tov Vahaba, Yishai Vahaba, Gaya Vahaba, Neta Vahaba,

Noam Vahaba, Shailo Vahaba, Koren Hazoutte, Yakir Alfred Hazoutte, Boaz Shalom Hazoutte,

Amos Hazoutte, Maayan Gani Hazoutte, Shachar Rafael Butler, Anat Sharf, the Estate of May

Naim, Shelly Naim, Tal Naim, Ran Naim, Yehuda Beinin, Chaya Beinin, Tal Beinin, Liat

Atzili, Ofri Atzili, Netta Atzili, Ayah Atzili, Ester Sasi, Moran Sasi, Danielle Sasi, Raphael

Perez, Natalie Sasi, Samantha Meltz, Eli Sasi, Lee Meltz Sasi, Elin Levy Sasi, Daniel Lawrence

Sasi, Tal Meltz Sasi, Gital Sasi, Amit Sasi, Meir Sasy, Bekhor Sassi, Yaaqov Sasi, Jessica

Timmer, the Estate of Tamar Cynthia Flash, Keren Flash, Maayan Flash, Tali Flash, Margarita

Shtivelman, Guram Beniashvili, Iris Weinstein Haggai, Ahl Haggai, Rahm Haggai, Zohar

Haggai, the Estate of Judy Lynne Weinstein, and the Estate of Gad Haggai.

         22.    The Israeli Plaintiffs are Guil Gaston Hazoutte, Shlomo Sharf, Ofer Naim, Maor

Perez, Ronit Rahoum, Ester Halif, Yosef Sasi, Shulamith Zani, Vito Sasy, and Izhak Sasi.

         23.    Defendant Iran is a foreign state designated by the United States as a state sponsor

of terrorism since January 19, 1984.3 Iran engages in anti-American and anti-Israel military and

terror attacks outside its own borders through its Islamic Revolutionary Guards-Quds Force and

other instrumentalities. Iran’s Quds Force has been classified as a specifically designated global

terrorist organization (“SDGT”) by the U.S. Department of Treasury since October 25, 2007.4




3
    https://www.state.gov/state-sponsors-of-terrorism.
4
    Source: https://ofac.treasury.gov/recent-actions/20071025.


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Through its Quds Force, Iran supplies and trains militant terror groups on Israel’s borders

including Hezbollah, Palestinian Islamic Jihad, and Hamas.5

        24.     Non-party Hamas is a United States-designated foreign terrorist organization

since October 8, 1997.6 The Hamas foundational documents call for the end of the State of Israel

through violent jihad and death to Jews and Zionists.7 On October 24, 2023, Hamas pledged to

repeat the October 7 Attack “again and again” so that it would be “just the first time, and there

will be a second, a third, a fourth.”8

        25.     Non-party Palestinian Islamic Jihad (“PIJ”) is a United States-designated foreign

terrorist organization since October 8, 1997.9 PIJ is committed to the destruction of Israel and to

the creation of an Islamic state in historic Palestine, including present-day Israel.10 PIJ has

historically carried out bombing and rocket attacks against Israel and Israeli civilians.11 PIJ has

conducted numerous terror attacks against civilians in Israel.12

                                   FACTUAL ALLEGATIONS

I.      ON OCTOBER 7, 2023, HAMAS AND PALESTINIAN ISLAMIC JIHAD
        CARRIED OUT A MASSIVE TERROR ATTACK OF UNPRECEDENTED
        DEPRAVITY AND SAVAGERY

        26.     On October 7, 2023, Hamas launched a coordinated land, sea, and air attack from

the Gaza Strip to rain rockets on, torture, rape, assassinate, burn alive, and take hostage (among




5
   https://www.state.gov/reports/country-reports-on-terrorism-2021.
6
   https://www.state.gov/foreign-terrorist-organizations.
7
   https://avalon.law.yale.edu/20th_century/hamas.asp.
8
   https://www.memri.org/reports/hamas-official-ghazi-hamad-we-will-repeat-october-7-attack-
time-and-again-until-israel.
9
   https://www.state.gov/foreign-terrorist-organizations.
10
   https://www.state.gov/reports/country-reports-on-terrorism-2021.
11
   https://www.state.gov/reports/country-reports-on-terrorism-2021.
12
   https://www.justice.gov/archive/opa/pr/2003/February/03_crm_099.htm


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other atrocities) anyone present in the Southern towns of Israel, including Erez, Be’eri, Nir Oz,

Kfar Aza, Sderot, Re’im, Nahal Oz, and Kerem Shalom (the “October 7 Attack”).13




                        (Map showing Israeli towns attacked on October 7.14)

       27.     Innocent civilians were executed, beheaded, and burned alive. Women were

maimed and gang-raped. Children were forced to witness the assassinations of their parents, and

then were tortured, burned alive, or dispatched with a bullet through their heads. Hundreds of

those who survived the murderous assault were kidnapped, taken to Gaza, and held hostage,

where many were tortured, raped, and killed.

       28.     Around 6:20 a.m. local time, Hamas began its attack by firing rockets at Southern

and Central Israel. At the same time, Hamas terrorists piloted armed drones to destroy Israeli




13
    https://www.aljazeera.com/news/2024/1/21/hamas-says-october-7-attack-was-a-necessary-
step-admits-to-some-faults.
14
    https://www.cnn.com/2023/11/09/us/shoah-foundation-records-october-7-
testimonies/index.html; see also https://abcnews.go.com/International/detailed-hamas-secretly-
crossed-israel/story?id=103917182.


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border surveillance and defensive technology, as armed Hamas paragliders took off from Gaza

to head into Southern Israel.

       29.    Between 6:30 and 7:00 a.m., Hamas and PIJ terrorists riding in trucks and on

motorbikes sped into Southern Israel while other terrorists on motorized paragliders began to

land at the Supernova (“Nova”) music festival near Kibbutz Re’im. Rockets landed throughout

southern parts of Israel, injuring people and destroying property.

       30.    Hamas-led terrorists arriving at the Nova music festival immediately opened fire.

One by one, the terrorists chased, dragged, shot, and systematically murdered about 260

people—mostly young festival attendees—in cold blood. Hamas-led terrorists raped and killed

many women, including a young woman who was gang-raped and then shot in the head by a

terrorist while he was still violently raping her.15 Several civilians were kidnapped.

       31.    Plaintiff Margarita Shtivelman hid under the counter at the festival’s ticket booth

trailer for 7½ hours—her husband was shot there and their belongings were stolen. Sagiv

Baylin Ben Zvi (the son of Natalia Ben Zvi and Plaintiff Guram Beniashvili) fled the festival

and was murdered in his car outside Mefalsim. Plaintiffs May Naim, Avraham Sasi, Danielle

Sasi, Maor Perez, and Lee Sasi fled to an outdoor bomb shelter outside Be’eri. Avraham and

May were murdered there. Danielle was shot.




15
    https://www.nytimes.com/2023/12/28/world/middleeast/oct-7-attacks-hamas-israel-sexual-
violence.html.


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         (A young woman murdered at the festival;16 murdered German woman in truck bed.17)




           (Murdered festival participants in tent;18 bodies of murder victims from festival.19)




           (Noa Argamani kidnapped by Hamas terrorists;20 Avinatan Or being kidnapped.21)


16
   https://www.hamas-massacre.net.
17
   https://nypost.com/2023/10/11/who-is-shani-louk-woman-who-hamas-paraded-on-a-truck.
18
   https://nypost.com/2023/10/08/horrifying-images-show-victims-of-hamas-attack-at-nova-
music-festival.
19
   https://www.hamas-massacre.net.
20
   https://www.nytimes.com/2023/10/08/world/middleeast/music-festival-israel-kidnapping-
video.html.
21
   https://www.cnn.com/videos/world/2023/10/08/hamas-attack-israel-music-festival-vpx.cnn.


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        32.   At a smaller music festival near Nirim, the Psyduck music festival, about seventy

attendees fled at the sounds of alarms and explosions. Many were killed on the roads leaving the

festival.

        33.   By 6:45 a.m., Hamas-led terrorists had infiltrated Kfar Aza.22 At about 7:00 a.m.,

Plaintiff Jessica Timmer’s partner was murdered there.




                         (A home in Kfar Aza after the Hamas massacre.23)

        34.   By 6:55 a.m., terrorists swarmed Mefalsim from three directions and attacked

with AK-47 gunfire and rocket-propelled grenades, following a detailed plan of attack based on

intelligence about Mefalsim’s layout, defenses, and security personnel. The community’s

security team locked down the town and repelled the attack for over 3½ hours before the Israel

Defense Forces arrived. Outside the gates, Hamas-led terrorists exchanged gunfire with the

community security forces and killed and injured approaching or passing civilians.24 Sagiv

Baylin Ben Zvi (son of Natalia Ben Zvi and Plaintiff Guram Beniashvili) was murdered there as

he drove toward the gates.



22
   https://www.nytimes.com/interactive/2023/10/11/world/middleeast/israel-gaza-hamas-attack-
timeline.html.
23
   https://www.businessinsider.com/pictures-of-hamas-oct-7-terror-attacks-israeli-homes-
photos-2023-11.
24
   https://www.cnn.com/2023/10/18/middleeast/hamas-documents-invs/index.html.


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       35.     At around 7:00 a.m., a group of about 10 terrorists broke through the gates of

Alumim. They used that position to attack people on the roads outside the community gates.

The terrorists had maps of the town and intelligence on its layout. They also carried mission

plans, including the weapons to use, the places to infiltrate, and the heinous acts to carry out.

       36.     Just after 7:00 a.m., Hamas-led terrorists rode into Be’eri and Sderot. As

terrorists swarmed from multiple directions, several gained access to Be’eri by ambushing a

vehicle entering through the front gate and murdering the driver once the gate was opened.25




             (Terrorists arriving in Be’eri and Sderot; ambushing a vehicle entering Be’eri.26)

       37.     Terrorists immediately murdered the civilians in the area. They went from house

to house murdering men, women, teenagers, children, toddlers, infants, and entire families.27

Some were murdered where they were; others were bound, marched, and executed in groups.28




25
   https://abcnews.go.com/International/israels-ground-zero-beeri-kibbutz-bloodiest-scenes-
hamas/story?id=103936668.
26
   https://abcnews.go.com/International/israels-ground-zero-beeri-kibbutz-bloodiest-scenes-
hamas/story?id=103936668.
27
   https://www.newyorker.com/news/dispatch/the-devastation-of-beeri.
28
   https://abcnews.go.com/International/israels-ground-zero-beeri-kibbutz-bloodiest-scenes-
hamas/story?id=103936668.


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          (Child’s room in Be’eri, covered in blood;29 safe room covered in soot; child’s room.30)

       38.     By about 7:15 a.m., Hamas-led battalions were in Nir Oz, searching for civilians

to murder and kidnap. Carrying detailed maps of the community, the terrorists first targeted the

town’s security infrastructure, including its first response defense team and armory. The

terrorists surrounded, shot and injured Plaintiff Shachar Butler, Nir Oz’s head of security, in his

home. Then, highly trained Hamas-led terrorists blanketed the town and rounded up and

abducted as many men, women, and children as they could by breaking into homes and safe

rooms. The town’s civilians were rounded up onto community vehicles (e.g., tractors and other

vehicles used for farming as well as stolen personal vehicles), and taken at gunpoint into Gaza.

Anyone the terrorists could not abduct, they murdered by point-blank execution, hand and

rocket-propelled grenades, and burning alive.

       39.     Plaintiff Koren Hazoutte’s and Plaintiff Amit Vahaba’s mother was murdered

there, executed with her dog while hiding in her safe room. Plaintiff Koren Hazoutte’s and

Plaintiff Amit Vahaba’s brother, Yahonatan Siman-Tov, together with his wife Tamar Siman-

Tov, and their very young children, Arbel, Shachar, and Omer, were burned alive in the safe

room of their Nir Oz home—huddled together and hugging, suffocated by the black smoke from




29
   https://www.hamas-massacre.net.
30
   https://www.businessinsider.com/pictures-of-hamas-oct-7-terror-attacks-israeli-homes-
photos-2023-11.


                                                   15
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the fire that Hamas-led terrorists had set to their home. Plaintiff Liat Atzili was taken hostage

from Nir Oz. Her husband, Aviv Atzili, was murdered in Nir Oz.




        (Nir Oz mailboxes with black stickers indicating kidnapped, and red indicating murdered.)

       40.     Around 8:30 a.m., a group of about 20 to 30 terrorists broke through the back gate

of Alumim. They attacked the town’s dairy farm and agricultural equipment with rocket-

propelled grenades, hand grenades, and Kalashnikov rifles. They murdered 23 foreign workers

and kidnapped two. Other foreign workers were injured and only a few escaped. The first

response team mobilized to the location and kept the terrorists from advancing further.

       41.     At about 8:30 a.m., Hamas-led terrorists infiltrated Nahal Oz.31




                        (Child’s bedroom in Nahal Oz after Hamas massacre.32)




31
   https://www.nytimes.com/interactive/2023/10/11/world/middleeast/israel-gaza-hamas-attack-
timeline.html.
32
   https://www.jpost.com/arab-israeli-conflict/article-771324.


                                                  16
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       42.    At about 9:30 a.m., civilians, including elderly women, were kidnapped from Kfar

Aza and taken as hostages.33




                          (Elderly women being kidnapped from Kfar Aza.)

       43.    As Hamas terrorists proceeded from home to home and village to village, they

bound, burned, beheaded, and tortured the Israelis they encountered.




        (Woman gagged and burned; woman bound and burned; beheaded; beheaded baby.34)




        (Parent murdered in child’s bedroom; family murdered in a bedroom; murdered infant.35)


33
   https://www.nytimes.com/interactive/2023/10/11/world/middleeast/israel-gaza-hamas-attack-
timeline.html.
34
   https://www.hamas-massacre.net.
35
   https://www.hamas-massacre.net.


                                                 17
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                                (Child’s bedroom after Hamas massacre.36)

        44.    On the roads, Hamas-led terrorists, sometimes dressed in Israeli military and

police uniforms, stopped cars, and murdered their passengers. Sagiv Baylin Ben Zvi (son of

Natalia Ben Zvi and Plaintiff Guram Beniashvili) was murdered while driving, by terrorists

shooting at cars on the road.




          (Man shot and dragged from car; murdered woman next to car; man killed on street.37)

        45.    The Hamas terrorists also shot civilians waiting at bus stops.




36
     https://www.hamas-massacre.net.
37
     https://www.hamas-massacre.net.


                                                  18
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                                     (Civilians murdered at bus stops.38)

       46.       No one and no location were spared: Hamas attacked schools, shelters,

ambulances, and medical facilities.




             (Bloodied kindergarten in Be’eri;39 bullet-shattered kindergarten window in Be’eri.40)

       47.       Hamas-led terrorists also looted stores, homes, and personal belongings.41




38
   https://www.hamas-massacre.net.
39
   https://www.businessinsider.com/pictures-of-hamas-oct-7-terror-attacks-israeli-homes-
photos-2023-11.
40
   https://abcnews.go.com/International/israels-ground-zero-beeri-kibbutz-bloodiest-scenes-
hamas/story?id=103936668.
41
   https://abcnews.go.com/International/israels-ground-zero-beeri-kibbutz-bloodiest-scenes-
hamas/story?id=103936668.


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                                (Looting gas station outside Nir Oz.42)

       48.     By about 10:30 a.m., several Israeli army units deployed to Alumim and assisted

with repelling the terrorist attack from advancing into the town. The army units fought upwards

of 60 terrorists on the roads outside Alumim.

       49.     In the next wave of their attack, the terrorists were followed by civilians crossing

over from Gaza to inflict maximum property damage—looting, vandalizing, and stealing cattle,

equipment, vehicles, tools, jewelry, wallets, phones, children’s toys, and anything else they

wanted.




42
    https://www.dailymail.co.uk/news/article-12795225/Terrifying-moment-Hamas-gunmen-
riddle-Israeli-petrol-station-bullets-workers-run-cover-Terrorists-trying-murder-civilians-loot-
store-October-7-attack-stealing-trash-can.html.


                                                 20
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                        (A home in Nir Oz in the aftermath of Hamas attack.43)

       50.    By 12:30 p.m., the Hamas-led terrorists left Nir Oz, leaving massive destruction

in their wake. More than 100 residents of the 400-person community were murdered or taken

hostage.

       51.    At 1:50 p.m., the Israel Defense Forces mobilized to retake towns in Southern

Israel. It would be several hours (in some places, days) before Israeli forces regained security

control. As Israeli authorities advanced and searched at the site of the Nova festival, some

shouted in search of survivors: “give us a sign of life. Anyone able to, give us a sign of life.”

In many places, nobody moved—young and old were all murdered. Body after body lay lifeless

and bloodied. They counted the murdered: one murdered, two, three, four, five, until counting

no longer made sense. They were all murdered—too many to count.44

       52.    At 2:02 p.m., Hamas-led terrorists entered the Be’eri emergency clinic and

murdered the wounded and the medical staff treating them.45


43
   https://www.businessinsider.com/pictures-of-hamas-oct-7-terror-attacks-israeli-homes-
photos-2023-11
44
   https://en.wikipedia.org/wiki/File:Footage_of_bodycam_of_Israeli_elite_unit_clearing_the_
Nova_music_festival_area_on_7th_October.webm#filehistory
45
   https://www.nytimes.com/interactive/2023/10/11/world/middleeast/israel-gaza-hamas-attack-
timeline.html.


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       53.     At about 4:00 p.m., Israeli special forces reached homes in Nir Oz. Plaintiff

Koren Hazoutte was rescued from her safe room, after sheltering with her husband and four

children for nearly 10 hours with no food and barely any water. She emerged to find her

brother’s home next door burned to the ground, and her brother, nieces, nephew, and sister-in-

law suffocated and burned to death, foaming from the mouths. Her mother was found dead too.

Koren’s sister’s family across the street was pulled out alive, against all odds, from the remains

of their burning home.

       54.     At about 5:00 p.m., Hamas-led terrorists were still moving from house to house in

Kfar Aza, murdering civilians bunkered in safe rooms, even while the Israeli military attempted

to repel the attack. Around this time, Cindy and Igal Flash (parents of Plaintiffs Keren Flash

and Maayan Flash) were murdered in the safe room of their Kfar Aza home.

       55.     Hamas-led terrorists remained in Israeli towns for several days, taking up strategic

positions in their victims’ homes to fight off Israeli soldiers that came to rescue civilians,

recover bodies, and retake property.

       56.     Civilians in the town of Alumim, for example, were not evacuated from their safe

rooms until 2:30 p.m. on October 8—after 32 hours sheltering in place.




                                                 22
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       57.     Hamas labelled its October 7 terror attacks as the “Al-Aqsa Storm” (or “Al-Aqsa

Flood”) and it is referred to hereinafter as the October 7 Attack.




                        (Sites with largest numbers of victims on October 7.46)

       58.     Palestinian Islamic Jihad terrorists and other smaller groups (all funded, supplied,

trained, and supported by Iran) participated in the October 7 Attack, allied with and under the

direction of Hamas.47

       59.     The October 7 Attack was the result of more than one year of intense planning,

intelligence gathering, weapons acquisition, and training. To perpetrate the attack, Hamas and

PIJ relied on: (a) Iranian intelligence on vulnerabilities in Israel’s border security and military

communication channels; (b) hundreds of Iranian-designed rockets; (c) thousands of Iranian-

supplied assault weapons and ammunition, thermobaric grenades, hand grenades, and other

deadly weapons; and (d) Iranian military training in assault and combat tactics.


46
   https://www.nytimes.com/interactive/2023/10/11/world/middleeast/israel-gaza-hamas-attack-
timeline.html.
47
   Congressional Research Service, https://crsreports.congress.gov/product/pdf/R/R47754
(October 20, 2023).


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II.    HAMAS DETAINED HOSTAGES TO NEGOTIATE FOR LEVERAGE
       AGAINST ISRAEL

       60.     During the October 7 Attack, Hamas seized and detained 241 people from Israel,

including many U.S. citizens, and took them to Gaza where they were held against their will.

Hamas has long used hostage-taking as a tactic to extract concessions from Israel. For example,

on June 25, 2006, Hamas kidnapped Israeli soldier Gilad Shalit in a cross-border raid and held

him for five years. In October 2011, Israel released 1,027 Palestinian prisoners as part of a

negotiated package to secure Shalit’s freedom.48 Among the released prisoners were current

Hamas leader Yahya Sinwar as well as Hamas terrorists who, after release, abducted and

murdered three Israeli teenagers in June 2014.49

       61.     On October 9, Hamas spokesman Abu Obeida said that Hamas would execute, on

a live broadcast, one civilian hostage every time Israel targeted civilians in their homes in Gaza

without warning.50

       62.     Between at least October 8 and November 24, 2023, officials in Qatar (where top

Hamas leaders have amassed hundreds of millions of dollars in personal fortunes and live in

luxury) mediated talks between Hamas and Israel (with the United States and other interested

countries participating) for the release of the hostages.51 Hamas made many demands, some

known, others not, as conditions for releasing groups of (but not all) women and children

hostages. Iran participated in these talks.52


48
    https://www.britannica.com/biography/Gilad-Shalit.
49
    https://www.timesofisrael.com/palestinians-freed-in-shalit-deal-killed-6-israelis-since-2014;
https://www.nytimes.com/2011/10/19/world/middleeast/israel-and-palestinians-begin-prisoner-
exchange.html; https://www.wsj.com/world/middle-east/hamas-hostages-israel-gaza-41432124.
50
    https://www.nbcnews.com/news/world/hamas-threatens-israel-gaza-kill-civilians-hostages-
siege-rcna119532; https://thehill.com/policy/4246128-hamas-threatens-to-kill-israeli-hostages-
over-strikes-without-prior-warning-on-gaza.
51
    https://www.cnn.com/2023/11/21/politics/negotiations-israel-hamas-hostages/index.html.
52
    See infra ¶ 144.


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       63.     On October 16, Hamas spokesman Abu Obeida confirmed that Hamas held 200

hostages and that about 50 other hostages were held by allied terrorists in Gaza. Former Hamas

leader Khaled Mashaal stated that Hamas held enough Israeli hostages to secure the release of

all Palestinian prisoners in Israeli detention.53

       64.     On October 18, senior Hamas official Basem Naim stated that Hamas would

release the civilian hostages if Israel ceased all military airstrikes in Gaza, and that Hamas

would release all Israeli soldiers taken hostage if Israel released all Palestinian prisoners and

lifted the “siege” on Gaza.54

       65.     In October, Qatari-led mediation resulted in the release of four hostages.55 The

terms for that release are not publicly known, but reports indicate it was the result of intense

negotiations, including requiring that Israel delay its ground invasion.

       66.     On October 27, Israel launched a ground invasion into Gaza. During the early

days of that operation, Israel rescued one hostage and recovered the bodies of three others.56

       67.     On October 29, Hamas demanded that Israel allow fuel trucks into Gaza as a

precondition to hostage-release negotiations.57




53
    https://www.timesofisrael.com/liveblog_entry/hamas-says-it-holds-200-hostages-other-
factions-have-about-50-ground-op-doesnt-scare-us.
54
    https://www.nbcnews.com/video/richard-engel-speaks-on-phone-with-senior-hamas-official-
about-hostages-195888709833.
55
    https://www.cnbc.com/2023/10/20/hamas-says-it-releases-two-us-hostages-for-humanitarian-
reasons-after-qatari-efforts.html; https://www.wsj.com/world/middle-east/hamas-hostages-israel-
gaza-41432124.
56
    https://www.wsj.com/world/middle-east/hamas-hostages-israel-gaza-41432124.
57
    https://www.nbcnews.com/news/investigations/hostage-negotiations-stall-hamas-demand-
fuel-deliveries-gaza-rcna122707.


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       68.     On November 2, senior Hamas official Ghazi Hamad stated that Hamas would

agree to release all hostages if Israel released all Palestinian prisoners in Israeli detention. He

also conditioned talks on Israel ceasing its military campaign in Gaza.58

       69.     On November 22, 2023, Hamas agreed to release at least 50 Israeli civilian

women or children held hostage from detention in Gaza in exchange for the release of

150 Palestinian women and minor prisoners from Israeli jails, a four-day cease fire, and, among

other things, the entry of hundreds of supply trucks, including fuel trucks, into Gaza.59 Hamas

also agreed to release an additional 10 Israeli civilian women and children held hostage from

detention in Gaza in exchange for every additional day of cease-fire.

       70.     Between November 24 and December 1, 2023, Hamas released 105 hostages in

exchange for, among other things, 240 Palestinian prisoners and a seven-day pause in fighting.60

The full terms that secured those releases, including the release of Thai nationals held hostage,

are not publicly known.61

       71.     On or about November 30, Hamas demanded a higher price for the remaining

hostages, including the release of more Palestinian prisoners and the release of higher-profile

Palestinian prisoners.62 Specific proposals from Hamas included the exchange of particular




58
    https://www.nbcnews.com/news/world/hamas-official-says-want-hostages-go-home-
rcna123396.
59
    https://www.aljazeera.com/news/2023/11/22/israel-hamas-deal-on-temporary-ceasefire-in-
gaza-all-you-need-to-know.
60
    https://www.cnn.com/interactive/2023/12/world/hostage-israel-hamas-deal-dg;
https://www.aljazeera.com/gallery/2023/12/1/photos-palestinians-celebrate-release-of-another-
batch-of-prisoners.
61
    https://www.aljazeera.com/news/2023/11/29/efforts-under-way-to-extend-israel-hamas-truce-
for-second-time.
62
    https://www.nytimes.com/2023/11/30/world/middleeast/the-truce-broke-down-over-the-
details-of-further-hostage-and-prisoner-exchanges-israeli-officials-say.html.


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hostages for particular Palestinian prisoners, even proposing a single civilian male hostage be

exchanged for several dozen long-serving Palestinian prisoners.63

       72.     By December 1, Hamas had failed to uphold its commitment to release all women

hostages64 and made greater demands for the release of any men of fighting age (even men in

their late 40s or 50s) and any women captured near military bases.65

       73.     On December 2, 2023, Hamas declared that it would continue to detain the

remaining hostages until Israel ceased its military operations in Gaza and released all Palestinian

prisoners being held in Israeli jails.66

       74.     On December 11, 2023, Hamas spokesman Abu Obeida stated that Hamas would

murder all remaining hostages unless Israel met Hamas’s demands.67 He did not specify what

those demands were but they reportedly included a permanent ceasefire in Gaza, release of

Palestinian prisoners, and increased aid to Gaza.

III.   THE ISLAMIC REPUBLIC OF IRAN

       75.     In 1979, the Iranian Revolution overthrew the Iranian monarchy to create an

Islamic republic within the territory of Iran. The Islamic Republic of Iran is ruled by a supreme

religious leader (currently Ayatollah Ali Khamenei) who sits atop the political system.


63
    https://www.nytimes.com/live/2023/12/02/world/israel-hamas-war-gaza-
news?searchResultPosition=16#the-truce-talks-broke-down-over-how-to-release-the-remaining-
hostages-officials-say.
64
    https://www.nytimes.com/live/2023/12/05/world/israel-hamas-war-gaza-
news?searchResultPosition=13#the-state-department-says-hamas-reneged-on-a-deal-to-release-
all-the-women-being-held-hostage.
65
    https://www.nytimes.com/live/2023/12/02/world/israel-hamas-war-gaza-
news?searchResultPosition=16#the-truce-talks-broke-down-over-how-to-release-the-remaining-
hostages-officials-say.
66
    https://www.reuters.com/world/middle-east/no-prisoner-exchange-with-israel-until-there-is-
ceasefire-gaza-hamas-says-2023-12-02;
https://www.nytimes.com/2023/12/03/world/middleeast/israel-hamas-hostages-gaza.html.
67
    https://www.foxnews.com/world/hamas-threatens-no-hostage-leave-alive-demands-
resistance-not-met-reports.


                                                  27
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                               (Iranian government power structure.68)

        76.    The Ayatollah is commander-in-chief of all Iranian military, intelligence, and

security services. He has appointment and dismissal power for heads of major state bodies,

including the military, judiciary, and media. The Ayatollah exercises power through a network

of about 2,000 representatives empowered to carry out matters of state on his behalf. The

president and parliament of Iran are determined by elections but are effectively subordinate to

the Ayatollah (and his representatives) in nearly all important matters of government.69

        77.    The Iranian Revolution reversed movement by the former government of Iran

(under the Shah) towards normalized trade and political relations with the United States,

Europe, and allied Western countries.70

        78.    The Ayatollah is a cleric of Shia Islam. Since the death of the Islamic prophet

Mohammed, Islam has been split into two primary sects, Shia and Sunni. Those sects have


68
     https://iranprimer.usip.org/resource/irans-power-structure
69
     https://www.pbs.org/wgbh/pages/frontline/shows/tehran/inside/govt.html.
70
     https://www.britannica.com/biography/Mohammad-Reza-Shah-Pahlavi.


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occasionally engaged in holy wars and other sectarian violence over their religious

disagreement. In Iran, Shia religious law is the law of the land.

          79.   The Islamic theocracy in Iran is strongly committed to foreign-policy goals that

include (a) spreading Islamic rule throughout the world, and (b) destruction of the State of

Israel.

IV.       IRAN SEEKS HEGEMONY OVER THE MIDDLE EAST AND BEYOND

          80.   Iran, as a strictly Shiite religious regime, has historically scorned its

predominantly Sunni neighbors.

          81.   Particularly concerning to Iran has been the gradual normalization of relations

between Sunni regimes and the West (i.e., the United States, Europe, Britain, and allied

democracies).

          82.   Under Iran’s ruling philosophy, set by its founding Ayatollah and perpetuated by

the current Ayatollah, the United States is the “Great Satan” that must be fought.71 Under this

doctrine, Israel is the “little Satan” that must be destroyed.72 Under the Ayatollah’s Islamic

teachings, non-Muslims are infidels and devout Muslims must follow the teachings of the Quran

(Islam’s holiest text) to defeat infidels and spread Islamic influence worldwide.

          83.   Over the latter part of the twentieth century into the twenty-first century, Sunni

regimes in Turkey, Saudi Arabia, Kuwait, Qatar, the UAE, Egypt, and Jordan, among others,

have increasingly engaged in political, economic, and even military cooperation with the United

States and other Western nations. To Iran, this normalization is heretical and a threat to its goal

of worldwide Islamic revolution.



71
   https://www.wsj.com/articles/the-u-s-is-still-irans-great-satan-1437170607
72
   https://www.aljazeera.com/news/2023/11/6/iran-and-israel-from-allies-to-archenemies-how-
did-they-get-here.


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                              (Competing alliances in the Middle East.73)

        84.    Also animating for Iran has been normalization of relations between Sunni

regimes and the State of Israel. At about the same time as Iran’s founding as an Islamic

Republic in 1979, Egypt entered into a peace treaty with Israel (replacing the former Iranian

regime as the primary exporter of oil to Israel).

        85.    This normalization has expanded in recent years, following the 2020 Abraham

Accords (bilateral agreements signed between Israel and the United Arab Emirates and

Bahrain). In 2023, the Kingdom of Saudi Arabia and Israel engaged in talks about normalizing

relations. Iran criticized these developments as undermining its objectives.

V.      IRANIAN FOREIGN FIGHTING

        86.    The Iranian Revolution became a model for Iran and other Islamic radicals for

how an Islamic religious movement can overthrow governments and establish Islamic states.74




73
     https://twitter.com/TheEIU/status/1442836493400170502/photo/1.
74
     https://www.britannica.com/topic/Palestinian-Islamic-Jihad.


                                                 30
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It also brought into question the stability of fragile peace agreements in the region, especially

between Iran and Iraq.75

       87.    In 1980, Iraq invaded Iran. By 1982, Iran had repelled the Iraqi attack and Iraq

sought a peace agreement. But Iran went on the offensive. It continued to fight for six more

years against the Sunni regime in Iraq (under Saddam Hussein), which the Ayatollah (then

Ayatollah Ruhollah Khomeini) saw as an obstacle to further Islamic revolution in the region.

       88.    Also in 1982, Israel invaded Southern Lebanon to neutralize Palestinian

Liberation Organization (“PLO”) terrorists operating from there. This operation led to the

expansion of Israeli-controlled territory into Lebanon. In response, Iran founded Hezbollah—a

Shia militia dedicated to establishing an Islamic state in Lebanon and Israel. The group recruits

Lebanese Shia Muslims to fight in its ranks while receiving funding, arms, munitions, and other

support from the Iranian military.76

       89.    In 1982, a cease-fire between Israel and the PLO in Lebanon led to the

deployment of an international peacekeeping force of American, British, French, and Italian

armed forces (known as the “Multinational Force in Lebanon”).77 Viewing this deployment of

Western forces in Lebanon as a threat to Iranian foreign policy goals, Iran sent instructions to

Hezbollah “to take a spectacular action against the United States Marines.”78 Those instructions

are linked back to then-president of Iran and current Ayatollah, Ali Khameini.79 On October 23,

1983, Hezbollah loaded 12,000 pounds of TNT along with bottles of oxygen and propane into a



75
    https://www.britannica.com/event/Iran-Iraq-War.
76
    https://www.reuters.com/world/middle-east/what-is-hezbollah-lebanese-group-backing-
hamas-its-war-with-israel-2023-10-16.
77
    https://history.state.gov/milestones/1981-1988/lebanon.
78
    Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 63 (D.D.C. 2010).
79
    Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 63 (D.D.C. 2010);
https://www.britannica.com/biography/Ali-Khamenei.


                                                31
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water-delivery truck and rammed the truck into the center of a barracks in Lebanon housing

more than 300 U.S. troops.80 The resulting blast was the largest non-nuclear explosion ever

detonated: It lifted the Marine barracks off its foundation, reduced the 4-story building to fifteen

feet of rubble on top of a crater eight feet deep. The blast ripped locked doors from their

doorjambs in a building 256 feet away, trees 370 feet away were shredded and exfoliated, and it

shattered all the windows at the airport’s traffic control tower half a mile away. In the worst

tragedy for the U.S. military since World War Two, 241 American servicemen were killed and

many others were critically injured.81 Simultaneously, Hezbollah attacked French forces with a

suicide truck bomb, killing 58 French troops.82 As a result of this attack, among other things, in

1984 the United States designated Iran a state sponsor of terrorism.

       90.     While Hezbollah fought in furtherance of Iran’s regional aims using Lebanese

militants, Iran fought in Iraq using its own soldiers—waves of young, inexperienced Iranian

conscripts (even young boys taken from Iranian streets).83

       91.     The Iran-Iraq war ended in a 1988 ceasefire followed by a 1990 peace accord.84

VI.    IRAN’S QUDS FORCE FUNDS AND TRAINS ANTI-ISRAEL TERRORISM

       92.     In 1990, shortly after the Iran-Iraq war ended, Iran founded its Quds Force—a

military arm dedicated to projecting Iranian influence and Islamic revolution through the use of

proxy militias outside the territory of Iran.85


80
    https://www.military.com/history/5-surprising-facts-about-1983-beirut-barracks-
bombing.html; see generally https://www.marines.mil/Portals/1/Publications/US Marines In
Lebanon 1982-1984 PCN 19000309800_1.pdf.
81
    Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 64 (D.D.C. 2010);
https://www.state.gov/40th-anniversary-of-the-beirut-marine-corps-barracks-bombing.
82
    https://www.military.com/history/5-surprising-facts-about-1983-beirut-barracks-
bombing.html.
83
    https://www.britannica.com/event/Iran-Iraq-War.
84
    https://www.britannica.com/event/Iran-Iraq-War
85
    https://www.justice.gov/d9/2023-04/2020-03-10_soleimani_airstrike_redacted_2021.pdf at 5.


                                                  32
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        93.    The Quds Force reports directly to the Ayatollah. For that reason, it would not be

unusual for Iranian elected officials, even at the highest levels, to be unaware of an operation

planned, approved, or even directed by the Quds Force.

        94.    Hezbollah was a model for the Quds Force and became a primary agent for the

force as well, especially on the borders of Israel. Using militias like Hezbollah, Iran projected

Islamic and Iranian influence without shedding Iranian blood and with the plausible deniability

of a proxy—far reducing the risk of a direct confrontation with Israel or the United States and

their far superior military powers.86

        95.    Through the Quds Force, Iran cultivated a network of Islamic militant groups

backed by Iran and fighting to further Iran’s agenda of regional and worldwide Islamic

revolution, destruction of the State of Israel, and expulsion of Western influence from the

Middle East.87

        96.    The Quds Force operates by identifying (or founding) ideologically aligned

foreign militia groups well-positioned to further Iranian goals of Islamic revolution and the

destruction of Israel. The Quds Force then provides funding, weapons, training, and supplies to

those militias, while the militias recruit fighters and provide localized military presence. In

exchange, Iran not only benefits from continuation and escalation of those militia’s pre-existing

activities, it also gains the ability to direct foreign operations through such proxy groups.




86
     https://ecfr.eu/special/battle_lines.
87
     https://www.justice.gov/d9/2023-04/2020-03-10_soleimani_airstrike_redacted_2021.pdf at 5.


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       97.    That network of Iran-backed militias—united in waging an Islamic fight against

the West and Israel—is commonly referred to as the Islamic Resistance or, more recently, Iran’s

Axis of Resistance.88

VII.   IRAN’S AXIS OF RESISTANCE

       98.    From the late 1990s until his assassination in 2020 by a U.S. Hellfire missile

strike, Qassem Soleimani led the Quds Force.89

       99.    Iran’s Quds Force funds and directs militant groups in Iraq, Afghanistan, Syria,

Lebanon, Yemen, and the Palestinian territories.90

       100.   Quds Force-backed militias include the Houthi rebels in Yemen. The Houthi flag

bears the slogan: “God is great. Death to America. Death to Israel. A curse upon the Jews.

Victory to Islam.” The Houthis have waged a multi-year Shia religious war against Yemen’s

Sunni government. Saudi Arabia, backed by the United States, has fought against the Houthi

rebels in Yemen. This Iran-backed war has resulted in the world’s worst humanitarian crisis:

hundreds of thousands of dead due to the fighting and over 21 million civilians in dire need of

assistance.91 The rebels have gained control of most of the Yemeni populated territory,

including the capital Sana’a.92

       101.   The Islamic Resistance in Iraq includes a set of Iran-backed militias in Iraq loyal

to the Ayatollah.93 These militias fought American forces after America’s 2003 invasion of

Iraq, but then assisted in fighting ISIS (which was a Sunni Islamist movement). They remain



88
    https://www.economist.com/the-economist-explains/2023/11/15/what-is-irans-axis-of-
resistance
89
    https://www.justice.gov/d9/2023-04/2020-03-10_soleimani_airstrike_redacted_2021.pdf at 5.
90
    https://www.nytimes.com/2023/10/27/world/middleeast/iran-proxy-militias.html.
91
    https://www.unrefugees.org/news/yemen-crisis-explained.
92
    https://www.cfr.org/global-conflict-tracker/conflict/war-yemen.
93
    https://www.fdd.org/analysis/2023/10/18/iran-backed-shia-militias-target-2-u-s-bases-in-iraq.


                                               34
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active in waging attacks against the U.S. and Western presence in Iraq. Chief among these

groups is the Badr Organization, a militia formed by Iran around 1983.94 Smaller groups loyal

to and backed by Iran include Kata’ib Sayyid al-Shuhada, Ashab-al-Kahf, and many others.95




                 (Iran-linked infographic showing fifteen Iran-backed militias in Iraq.96)

VIII. HAMAS AND PIJ ARE MEMBERS OF IRAN’S AXIS OF RESISTANCE

       102.   Two years after the 1979 Iranian revolution, PIJ was founded in the Islamic

revolutionary mold, with the goal of overthrowing Israel and establishing an Islamic state in its

place.97 Iran has backed PIJ and continues to do so.98



94
    https://www.washingtoninstitute.org/policy-analysis/profile-badr-organization.
95
    https://www.longwarjournal.org/archives/2023/10/other-iraqi-groups-figures-join-the-fray-
warning-the-united-states-against-support-for-israel.php.
96
    https://www.longwarjournal.org/archives/2021/04/iranian-backed-groups-tout-operations-in-
iraq.php.
97
    https://www.britannica.com/topic/Palestinian-Islamic-Jihad
98
    https://www.state.gov/reports/country-reports-on-terrorism-2021;
https://www.npr.org/2023/10/26/1208456496/iran-hamas-axis-of-resistance-hezbollah-israel;
https://www.idf.il/en/mini-sites/iran/iran-s-proxies-entrenching-the-middle-east;
https://www.memri.org/reports/hamas-islamic-jihad-officials-iran-provides-our-missiles-
weapons-funds-and-food-our-gunmen; https://warontherocks.com/2023/10/irans-support-for-
hamas-and-the-risk-of-multi-front-escalation; https://www.memri.org/tv/hamas-and-palestinian-
islamic-jihad-leaders-reveal-iranian-funding-their-organizations-military;



                                                   35
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       103.    Through its support of PIJ, Iran has caused several terror attacks against Israel.99

Although PIJ and Palestinian-aligned groups are generally Sunni Muslims, Iran’s goal of

eradicating the State of Israel has led it to expand support from PIJ to other Palestinian terror

groups, including PFLP and Hamas. These groups operate with the long-term goal of slowly

eradicating the State of Israel through attacks against civilians, the military, and the

infrastructure. Though no single attack is sufficient to destroy the state, the groups believe that

consistent terror against Israeli civilians will lead to an eventual collapse in civilian and military

morale, and a corresponding opening for Islamic revolution to eliminate the Jewish state.

       104.    In 1987, Hamas was founded with similar aims—to wage an Islamic holy war

against the Jewish state and establish an Islamic regime in place of the State of Israel.

       105.    In 1994, Jordan entered into a peace treaty with Israel.

       106.    That same year, Palestinian legislator Ziad Abu-Amr reported that Iran “provides

logistical support to Hamas and military training to its members,” and estimated Iranian

assistance to Hamas “at tens of millions of dollars.”100

       107.    In 1997, a top Hamas commander responsible for a campaign of Hamas suicide

bombings in Israel reported to 60 Minutes that he had received three months of military training

in Iran.101



https://www.aljazeera.com/news/2023/5/11/israels-prime-target-what-is-palestinian-islamic-
jihad; https://www.wsj.com/world/middle-east/hamas-needed-a-new-way-to-get-money-from-
iran-it-turned-to-crypto-739619aa.
99
    https://www.memri.org/reports/hamas-islamic-jihad-officials-iran-provides-our-missiles-
weapons-funds-and-food-our-gunmen.
100
     Ziad Abu-Amr, Islamic Fundamentalism in the West Bank and Gaza: Muslim Brotherhood
and Islamic Jihad (Bloomington, IN: Indiana University Press, 1994), p. 88 (quoted at
https://jstribune.com/levitt-the-hamas-iran-relationship at n.1).
101
     Transcript of “Suicide Bomber: The Planning of the Bloodiest Suicide Bombing Campaign
in Israel’s History,” CBS 60 Minutes, October 5, 1997 (as reported at https://jstribune.com/levitt-
the-hamas-iran-relationship n.3).


                                                 36
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       108.    In 1999, the Canadian Secret Service reported that Iran had transferred

$30 million to Hamas.102

       109.    Before the fall of Saddam Hussein’s Iraqi regime in April 2003, Hamas had

received annual funding and other support from Iraq. In 2004, after the fall of the Iraqi regime

and the assassination of two successive Hamas leaders, Hamas turned to Iran for greater funding

and support. Iran obliged.103

       110.    In 2005, Israel unilaterally withdrew from Gaza—forcibly removing over 9,000

Israeli citizens living in 25 settlements. Israel handed full control of the Gaza territory

(including governmental and security responsibilities) to the Palestinian Authority. In 2006,

elections were held in all Palestinian territories. Hamas won with a plurality of votes. The

Palestinian Authority refused to join a coalition government. Fighting ensued and the result, by

2007, was Hamas’s absolute rule of Gaza. The Palestinian Authority held control in the West

Bank, where Hamas has less of a presence. No elections have been held in either territory since

2006, even though all elected terms long-ago expired.

       111.    Hamas brutally crushed the Palestinian Authority in Gaza. It assassinated

Hamas’s political opponents by throwing them from rooftops and by dragging their bodies

through the streets.104




102
     “Terrorist Group Profiler,” Canadian Secret Intelligence Service (CSIS), June 2002; Stewart
Bell, “Hamas May Have Chemical Weapons: CSIS Report Says Terror Group May be
Experimenting,” National Post (Canada), December 10, 2003 (quoted at
https://jstribune.com/levitt-the-hamas-iran-relationship at n.2).
103
     https://docs.house.gov/meetings/BA/BA10/20231025/116509/HHRG-118-BA10-Wstate-
LevittM-20231025.pdf at 5.
104
     https://www.reuters.com/article/us-palestinians-gaza-scene/gaza-fighting-descends-into-
new-brutality-idUSL1264188820070612.


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       112.    After gaining control in 2007, Hamas began firing rockets from Gaza into Israel’s

populated areas. In recent years, Hamas has fired hundreds of rockets into Israel every month.

       113.    After Hamas took control of Gaza in 2007, Israel and Egypt blockaded Gaza to

control the import of weapons and to contain Hamas.

       114.    During a period that includes at least the last five years, Iran has provided

financial and other assistance to Hamas’s terror planning.105 This has included smuggling

weapons from Iran into Gaza.106 Among other things:

               a.     Iran has helped Hamas construct smuggling (and attack) tunnels

       underneath the Egyptian and Israeli borders. Iran has hidden long-range rockets on cargo

       ships carrying food and building supplies. For example, in March 2014, Israel seized a

       cargo ship headed from Iran to Sudan, for eventual smuggling into Gaza. Among sacks

       of concrete were long-range rockets (capable of travelling 125 miles and supporting a

       payload of up to 375 pounds) and 400,000 rounds of ammunition.107

               b.     Iran has placed weapons into sealed barrels and dropped them strategically

       into currents at sea that are calculated to carry the barrels into the waters off Gaza, where

       Hamas fighters retrieve the barrels and bring them onshore.




105
     https://www.memri.org/tv/hamas-and-palestinian-islamic-jihad-leaders-reveal-iranian-
funding-their-organizations-military (April 17, 2023); https://www.memri.org/tv/hamas-and-
palestinian-islamic-jihad-leaders-reveal-iranian-funding-their-organizations-military (March 19,
2023); https://www.memri.org/tv/hamas-and-palestinian-islamic-jihad-leaders-reveal-iranian-
funding-their-organizations-military (August 6, 2022); https://www.memri.org/tv/hamas-and-
palestinian-islamic-jihad-leaders-reveal-iranian-funding-their-organizations-military (August 10,
2021); https://www.memri.org/reports/hamas-islamic-jihad-officials-iran-provides-our-missiles-
weapons-funds-and-food-our-gunmen (May 12, 2021).
106
     https://www.cnn.com/2023/10/11/middleeast/hamas-weaponry-gaza-israel-palestine-unrest-
intl-hnk-ml/index.html.
107
     https://www.timesofisrael.com/idf-intercepts-major-iranian-weapons-shipment-to-gaza.


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               c.     Iran has provided training and parts for Hamas to build weapons inside

       Gaza.108

               d.     Iran has equipped Hamas and PIJ with a large and advanced rocket

       arsenal.109

               e.     Iran has sent generals to Gaza to train Hamas and PIJ terrorists in the

       tunnels on how to aim and fire Iranian rockets into Israel.110

       115.    In 2014, Hamas kidnapped and murdered three Israeli teenagers. This led Israel

to engage in several weeks of fighting in Gaza, to which Hamas responded with relentless

rocket fire into Israel. From Iran’s point of view, Hamas has demonstrated an ability to hold

Gaza as a base from which to attack Israel. In the aftermath of the 2014 fighting, Iran increased

its funding of and military support for Hamas.111

       116.    In 2017 to 2018, Hamas leaders and delegates met with Iranian and Hezbollah

officials to discuss increasing Iran’s funding and support for Hamas.112 This led to Iran

becoming the major sponsor of Hamas, providing $70 to $150 million (or more) each year,

along with weapons, munitions, rockets, technology, and other supplies.113 Iran also provides



108
     https://www.cnn.com/2023/10/11/middleeast/hamas-weaponry-gaza-israel-palestine-unrest-
intl-hnk-ml/index.html; https://www.cnn.com/2023/10/10/politics/us-intelligence-search-
evidence-iran-direct-role-hamas-attack-israel/index.html.
109
     https://www.wilsoncenter.org/article/irans-rockets-palestinian-groups;
https://www.washingtonpost.com/national-security/2023/10/09/iran-support-hamas-training-
weapons-israel.
110
     https://www.memri.org/tv/iranian-minister-cultural-herigage-irgc-general-ezzatollah-
zarghami-supply-hamas-hizbullah-rockets-traveled-gaza-tunnels.
111
     https://docs.house.gov/meetings/BA/BA10/20231025/116509/HHRG-118-BA10-Wstate-
LevittM-20231025.pdf at 6.
112
     https://foreignpolicy.com/2022/09/13/iran-hezbollah-hamas-israel-beirut-lebanon-
intelligence-sharing-center.
113
     https://www.state.gov/reports/country-reports-on-terrorism-2021;
https://www.memri.org/tv/hamas-and-palestinian-islamic-jihad-leaders-reveal-iranian-funding-



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military training to Hamas, even smuggling Hamas terrorists in and out of Gaza for training in

Iran and Lebanon.

      117.    In 2019, Iran set up a “war room” in Beirut, Lebanon (where it has substantial

sway under the strength of Iran’s Hezbollah proxy group). The purpose of the war room was to

coordinate among the militant groups that Iran supports to wage its proxy war against Israel.114

Iranian Quds Force commander Esmail Qaani has held meetings in the war room.115

      118.    In 2020, Iran began using cryptocurrency to move millions of dollars to Hamas.116

      119.    On May 10, 2021, Hamas fired long-range rockets at Jerusalem, sparking a round

of fighting with Israel. During that relatively short conflict, Iran used the Beirut war room to

coordinate with Hamas and other Iran-backed terror groups that were fighting with Israel. From

the war room, the Iranian military directed the flow of weapons from Hezbollah to Hamas,

provided intelligence to Hamas, and smuggled Hamas operatives out of Gaza.117 Iran used the

war room to provide Hamas with aerial and cyber intelligence, including intelligence on the

movements of Israeli forces and other reconnaissance of Israel’s military.118




their-organizations-military (May 26, 2021); https://www.washingtonpost.com/national-
security/2023/10/09/iran-support-hamas-training-weapons-israel (October 9, 2023).
114
     https://foreignpolicy.com/2022/09/13/iran-hezbollah-hamas-israel-beirut-lebanon-
intelligence-sharing-center.
115
     https://foreignpolicy.com/2022/09/13/iran-hezbollah-hamas-israel-beirut-lebanon-
intelligence-sharing-center.
116
     https://www.wsj.com/world/middle-east/hamas-needed-a-new-way-to-get-money-from-iran-
it-turned-to-crypto-739619aa; https://crsreports.congress.gov/product/pdf/IF/IF12537.
117
     https://www.timesofisrael.com/iran-hamas-and-hezbollah-coordinated-gaza-fighting-in-
joint-war-room-report.
118
     https://foreignpolicy.com/2022/09/13/iran-hezbollah-hamas-israel-beirut-lebanon-
intelligence-sharing-center.


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IX.     THE ABRAHAM ACCORDS THREATEN IRAN’S OBJECTIVES

        120.    In the years leading up to the October 7 Attack, Israel engaged in substantial

normalization talks, treaties, and activities with Sunni Arab neighboring states in the Middle

East. The peace talks could ultimately lead to an unbroken free trade route running through the

Middle East. For example:

                a.      As noted above, on September 15, 2020, the United Arab Emirates and

        Bahrain entered into agreements to recognize the State of Israel as a legitimate nation and

        to normalize trade relations with the Jewish state.




           (Representatives of Bahrain, Israel, the U.S., and the UAE sign Abraham Accords.119)

            b. In December 2020, Morocco agreed to normalize relations with the State of Israel.

            c. In January 2021, Sudan recognized the State of Israel.

            d. On March 30, 2021, Bahrain appointed an ambassador to Israel.




119
      https://2017-2021.state.gov/the-abraham-accords.


                                                   41
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                 (Middle East countries that have normalized relations with Israel.120)

       121.   By late 2022, high-level negotiations were underway with Saudi Arabia for the

country to normalize relations with Israel.121

       122.   In early 2023, Israeli Prime Minister Benjamin Netanyahu spoke publicly of his

hope to secure a diplomatic agreement with Saudi Arabia.122 By March 9, 2023, the United

States was considering the terms of a security pact with Saudi Arabia as part of a normalization

agreement between Saudi Arabia and Israel.123




120
     https://www.aljazeera.com/news/2023/9/15/map-which-mena-countries-have-diplomatic-
ties-with-israel.
121
     https://www.nytimes.com/2023/03/09/us/politics/saudi-arabia-israel-united-states.html.
122
     https://www.nytimes.com/2023/03/10/world/middleeast/saudi-arabia-iran-reestablish-
ties.html
123
     https://www.nytimes.com/2023/03/09/us/politics/saudi-arabia-israel-united-states.html.


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       123.   On March 10, 2023, Iran and Saudi Arabia surprised Israel and others by

announcing a Chinese-brokered reopening of relationships between Saudi Arabia and Iran,

including mutual reopening of embassies and reviving of security and trade pacts.124




       124.   In September 2023, Israeli Prime Minister Benjamin Netanyahu said that

substantial progress had been made towards normalizing relations with Saudi Arabia, and Saudi

Crown Prince Mohammad Bin Salman said: “Every day we get closer.”125

       125.   On September 26 to 27, 2023, Israel’s minister of tourism publicly visited Saudi

Arabia—the first-ever such trip by an Israeli official.126




124
     https://www.nytimes.com/2023/03/10/world/middleeast/saudi-arabia-iran-reestablish-
ties.html.
125
     https://www.usip.org/publications/2023/09/saudi-israel-normalization-agreement-horizon;
https://www.nbcnews.com/news/world/us-talks-saudi-arabia-israel-normalization-deal-
rcna116464.
126
     https://www.nytimes.com/2023/09/27/world/middleeast/saudi-arabia-israel-netanyahu-west-
bank.html.


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                    (Israel tourism minister Haim Katz in Riyadh, Saudi Arabia.127)

       126.   From October 2 to 4, 2023, Israel’s communications minister Shlomo Karhi led a

14-member delegation from Israel to a UN conference in Saudi Arabia, marking the second-ever

public trip by an Israeli official to the kingdom.128 The Israeli delegation conducted a Sukkot

prayer service while in Riyadh, celebrating the fourth day of the Jewish holiday.129




           (Karhi at conference in Saudi Arabia;130 Sukkot prayer service in Saudi Arabia.131)




127
    https://www.timesofisrael.com/minister-photographed-in-saudi-arabia-alongside-syrian-
counterpart-taliban-official.
128
    https://www.timesofisrael.com/in-saudi-arabia-israeli-minister-hails-blossoming-ties-
between-countries.
129
    https://www.timesofisrael.com/in-first-israeli-government-delegation-holds-jewish-prayer-
service-in-saudi-arabia.
130
    https://www.timesofisrael.com/in-saudi-arabia-israeli-minister-hails-blossoming-ties-
between-countries.
131
    https://www.timesofisrael.com/in-first-israeli-government-delegation-holds-jewish-prayer-
service-in-saudi-arabia.


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       127.   Normalized relations between Saudi Arabia and Israel were set to mark a

significant shift for the region—with the most powerful states moving decidedly away from the

philosophy and politics of Iran and towards those of Israel, the United States, and their western

allies.132




                   (Middle Eastern countries that have diplomatic ties to Israel.133)

X.     IRAN FUNDED, EQUIPPED, DIRECTED, AND PROVIDED TRAINING FOR
       THE OCTOBER 7 ATTACK

       128.   As potential Israeli normalization with Saudi Arabia progressed, Iran prepared to

reset the regional balance, including by attempting to unite Arab states around the Palestinian




132
     https://www.cnbc.com/2023/10/12/bidens-saudi-israel-normalization-plans-distant-as-israel-
pounds-gaza.html
133
     https://www.economist.com/the-world-ahead/2022/11/18/the-middle-easts-complex-web-of-
alliances-is-evolving.


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cause. It has been reported that some Arab states have purposely prolonged the Palestinian

situation to use as a rallying cause against Israel.134

       129.    In April to June 2023, Iranian leaders—including Ayatollah Khamenei and

President Raisi—met with Hamas and PIJ leaders in Iran and Syria to encourage further acts of

terrorism against Israel.135




                  (Hamas leader Ismail Haniyeh in meeting in Tehran in June 2023.)136

       130.    In June 2023, Quds Force commander Esmail Qaani met in Tehran with Hamas

leader Ismail Haniyeh and PIJ leader Ziyad Al-Nakhala.137




134
     https://www.aljazeera.com/opinions/2019/6/24/the-palestinian-refugees-and-the-monologue-
of-the-century (“The suffering of the Palestinian refugees has been – and in some cases still is –
exploited by the leadership of those countries for political gain.”).
135
     https://www.fdd.org/analysis/2023/10/10/its-the-hidden-hand-of-khameneis-regime-in-iran-
that-set-the-middle-east-ablaze-and-will-trigger-all-out-war;
https://www.fdd.org/analysis/2023/06/20/hamas-and-islamic-jihad-meet-iranian-leaders-in-
tehran; https://www.isna.ir/news/1402032919329.
136
     https://www.tehrantimes.com/news/485966/Resistance-best-option-to-spell-end-of-
Palestine-occupation.
137
     https://www.isna.ir/news/1402032919329.


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           (From Iranian press: PIJ leader Ziyah Al-Nakhala, Hamas leader Ismail Haniyeh.138)

        131.    On June 19, 2023, Hamas leader Ismail Haniyeh met with a delegation of high-

level Iranian security and military officials.




                     (Hamas leader Ismail Haniyeh with Hamas delegation in Iran.139)




138
      https://www.isna.ir/news/1402032919329.
139
      https://www.alquds.com/en/posts/76699


                                                  47
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       132.   On June 21, 2023, Hamas leader Ismail Haniyeh met with the Supreme Leader

and effective ruler of Iran, Ayatollah Ali Khamenei.




                   (Hamas leader Ismail Haniyeh, middle, with Ayatollah Khamenei.140)

       133.   Starting no later than in August 2023, Iranian Quds Force commanders used the

Beirut war room to conduct biweekly planning meetings with Hamas, PIJ, Hezbollah, and other

Iranian-backed terror groups. Iran’s foreign minister Hossein Amir-Abdollahian attended at

least two of these meetings.141 Military trainings to prepare for an attack were hosted by Iran.142

       134.   The meetings in the Beirut war room culminated with an October 2 meeting in

which Iran provided the green light for Hamas, PIJ, and the other Iran-backed groups to launch




140
     https://www.reuters.com/world/middle-east/iranian-state-media-confirms-meeting-between-
khamenei-hamas-haniyeh-tehran-2023-11-05.
141
     https://www.wsj.com/world/middle-east/iran-israel-hamas-strike-planning-bbe07b25 (Oct.
8, 2023); see also https://www.timesofisrael.com/500-hamas-pij-terrorists-trained-for-october-7-
attack-in-iran-last-month-report; https://www.timesofisrael.com/liveblog_entry/idf-says-iran-
directly-aided-hamas-before-assault.
142
     https://www.wsj.com/world/middle-east/hamas-fighters-trained-in-iran-before-oct-7-attacks-
e2a8dbb9; https://www.timesofisrael.com/500-hamas-pij-terrorists-trained-for-october-7-attack-
in-iran-last-month-report.


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the pre-planned attack against Israel, using Iranian intelligence, training, and military

supplies.143

       135.    In the early morning of October 7, Hamas led the Iranian-backed attack against

Israel, killing, kidnapping, and injuring Plaintiffs, among hundreds of others.

XI.    IRANIAN ACTIONS IN THE AFTERMATH OF THE OCTOBER 7 ATTACK

       136.    Iran immediately hailed the October 7 Attack and pledged allegiance to Hamas.

Ayatollah Khamenei sent public congratulations, while Iran’s parliament chanted “Death to

Israel.”144

       137.    Iranian leaders have continued to praise the Hamas attacks and take responsibility

for Hamas’s actions. On November 21, Iranian diplomat Ali Bagheri stated: “These are the

days when the entire world is witnessing how the sapling planted by the lord of the martyrs of

the resistance front, [former head of the Quds Force, Qassem] Soleimani, and his colleagues has

become a strong and stable tree that is waging resistance and that will destroy the Zionists …

and the resistance axis will not stand idly by and will not allow the institution of arrogance [i.e.

Israel] to continue to exist.”145 Iranian intelligence minister Esmail Khatib described the

October 7 Attack as “the resistance front’s smartest, bravest, and most effective operation.”146

And while he has stated that the Palestinians launched this attack of their own volition,



143
     https://www.wsj.com/world/middle-east/iran-israel-hamas-strike-planning-bbe07b25 (Oct.
8, 2023); https://foreignpolicy.com/2022/09/13/iran-hezbollah-hamas-israel-beirut-lebanon-
intelligence-sharing-center; see also https://www.bbc.com/news/world-middle-east-67044182;
https://www.wsj.com/articles/why-its-obvious-iran-approved-hamas-attack-khamenei-nuclear-
deal-f394c477.
144
     https://www.reuters.com/world/middle-east/adviser-irans-supreme-leader-expresses-support-
palestinian-attacks-iranian-media-2023-10-07.
145
     https://www.memri.org/reports/iranian-regime-officials-praise-irans-proxies-palestinian-
resistance-and-october-7-massacres.
146
     https://www.memri.org/reports/iranian-regime-officials-praise-irans-proxies-palestinian-
resistance-and-october-7-massacres


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Ayatollah Khamenei has warned: “If the crimes of the Zionist regimes continue, nobody will be

able to stop the Muslims and the forces of the resistance.”147

       138.   To the extent that any high-level Iranian officials (such as President Raisi, the

Parliament, and their subordinates) outside the direct military line of command of Ayatollah

Khamenei credibly lacked knowledge of the attacks, or of Iran’s role in them, that would be

because the action was directed by the Quds Force, which is under the direct command of the

Ayatollah, and not those other leaders or bodies.




                               (Iranian political line of command.148)

       139.   In the immediate aftermath of the October 7 Attack, Saudi Arabia put

normalization talks with Israel on hold.149




147
     https://www.memri.org/reports/iranian-regime-officials-praise-irans-proxies-palestinian-
resistance-and-october-7-massacres
148
     https://www.bbc.com/news/world-middle-east-63374266.
149
     https://www.reuters.com/world/middle-east/saudi-arabia-puts-israel-deal-ice-amid-war-
engages-with-iran-sources-say-2023-10-13.


                                                 50
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       140.   A few days after the October 7 Attack, Iranian president Ebrahim Raisi spoke

with Saudi Crown Prince Mohammad bin Salman in a heavily publicized call. They met in

Saudi Arabia on November 10 and discussed their shared condemnation of Israel’s response to

the October 7 Attack.150

       141.   In early November 2023, within a month after the October 7 Attack, Ayatollah

Khamenei met with Hamas leader Ismail Haniyeh, in Iran.151

       142.   Iranian proxies have also widely participated in the conflict that was started by

Hamas with the October 7 Attack. For example:

              a.      Houthi rebels, operating from Yemen, have fired rockets and suicide

       drones at Israel and Israeli-linked ships (and then expanded to targeting U.S.-linked ships

       and others) in the Red Sea. The Houthis were backed up by an Iranian warship moved by

       Iran into the Red Sea. The Houthis have pledged to continue their attacks until Israel

       withdraws its forces from Gaza.

              b.      Iranian-backed militias in Iraq and Syria launched over 150 separate drone

       and rocket attacks on U.S. forces in the region, including a January 28, 2024 strike that

       killed three U.S. servicemembers and injured 30.152

              c.      Iran-backed Houthi rebels fired on the U.S.S. Carney in the Red Sea.153




150
     https://www.nytimes.com/2023/11/11/world/middleeast/iran-saudi-arabia-gaza-cease-
fire.html.
151
     https://www.reuters.com/world/middle-east/iranian-state-media-confirms-meeting-between-
khamenei-hamas-haniyeh-tehran-2023-11-05.
152
     https://www.cnn.com/2023/12/04/politics/us-forces-iran-backed-militia/index.html;
https://www.aljazeera.com/news/2023/12/26/us-strikes-iraq-after-blaming-iran-backed-groups-
for-drone-attack; https://www.nytimes.com/live/2024/01/28/world/israel-gaza-jordan-news.
153
     https://www.usatoday.com/story/graphics/2023/12/05/how-us-warship-attack-red-sea-
unfolded/71799351007/


                                               51
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              d.      Iran-backed Houthi rebels seized a cargo ship with links to an Israeli ship

       owner.154

       143.   From October 7, 2023 onwards, Hezbollah engaged in near-daily rocket, mortar,

and drone attacks on Israel from Lebanon, with the stated purpose of assisting Hamas by

diverting Israeli forces from Gaza.155

       144.   Throughout November 2023, Qatar mediated talks for a cease-fire and prisoner-

swap between Israel and Hamas. According to Iranian media, Iran participated in those talks in-

person in Qatar, speaking with Qatari mediators and Hamas negotiators.




                   (Iranian media touting Iranian involvement in cease-fire talks.156)

       145.   When Israel reached a temporary cease-fire agreement with Hamas that lasted

from November 24 to December 1, 2023, Iranian proxy Hezbollah announced that it would




154
    https://apnews.com/article/israel-houthi-rebels-hijacked-ship-red-sea-
dc9b6448690bcf5c70a0baf7c7c34b09.
155
    https://www.timesofisrael.com/hezbollah-commits-to-abiding-by-truce-though-it-wasnt-
party-to-negotiations.
156
    https://twitter.com/nournewsen.


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participate in the truce, though it had not formally participated in negotiations.157 When fighting

between Israel and Hamas resumed on December 1, the Iranian proxy group resumed its attacks

on northern Israel.158

       146.   On December 2, 2023, an airstrike (reportedly by Israel) targeted and killed two

Iranian military officers who were reportedly “on an ‘advisory mission’” in Syria.159

       147.   On December 25, 2023, an airstrike (reportedly by Israel) targeted and killed

Iranian general Seyed Razi Mousavi.160 Brigadier General Mousavi was reported to have been

“an important part” of Iran’s “Axis of Resistance,” including moving Iranian weapons to

Hezbollah (from where weapons occasionally travel further, to Hamas in Gaza).161

       148.   In response to the October 25, 2023 assassination of Iranian general Mousavi, a

spokesman for the Iranian military took credit for the October 7 Attack, describing it as an “act

of revenge” by Iran for the 2023 assassination of Quds Force commander Qasem Soleimani by

the United States “with the support of the Zionists (Israel),” according to Iran.162

       149.   On January 28, 2024, Iran-backed militants launched a drone attack on a U.S.

military base located in Jordan. The attack killed at least three U.S. troops and wounded at least




157
     https://www.timesofisrael.com/hezbollah-commits-to-abiding-by-truce-though-it-wasnt-
party-to-negotiations.
158
     https://www.aljazeera.com/news/2023/12/1/at-least-three-killed-in-south-lebanon-as-israel-
hezbollah-resume-fighting.
159
     https://www.longwarjournal.org/archives/2023/12/israeli-airstrike-eliminates-key-iranian-
general-in-syria.php.
160
     https://apnews.com/article/syria-israel-iran-irgc-damascus-airstrike-
7ee8496d727ba69834002f0444515a36.
161
     https://www.aljazeera.com/news/2023/12/25/israeli-air-strike-in-syria-kills-top-iranian-
general.
162
     https://www.barrons.com/news/iran-s-guards-link-hamas-attack-on-israel-to-general-s-2020-
killing-d717d670; https://www.farsnews.ir/en/news/14021006000631/IRGC-Spkesman-Israel-
Shld-Wai-fr-Harsh-Revenge-fr-Assassinain-Iran's.


                                                53
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34. President Biden stated “we know [the attack] was carried out by radical Iran-backed

militant groups….”163

XII.   PLAINTIFFS WERE ATTACKED DURING AND HARMED BY THE OCTOBER
       7 ATTACK.

       A.     Hamas murdered Carol Siman-Tov and Yahonatan Siman-Tov (together
              with his wife and children)

       150.   Before the October 7 Attack, Carol Siman-Tov was a retired nurse who lived in

Nir Oz surrounded by her family of four children and 11 grandchildren, ranging in age from 2 to

12 years old. In September 2023, she celebrated her 70th birthday with her entire family. To her

children and grandchildren, she was a “super” grandmother. She rotated days of the week to

spend with each of her children’s family. She spent every grandchild’s birthday doing that

grandchild’s favorite activity with them. Her siblings—Trudi, Terri, and David—admired

Carol’s devotion to her family and saw Carol regularly when she visited them in Pennsylvania

or on their own trips to Nir Oz. Carol was planning to travel to the United States in November

2023 to visit each of her siblings and to spend Thanksgiving with all of them.




                                      (Carol Siman-Tov, 70)




163
    https://www.reuters.com/world/biden-says-three-us-service-members-killed-drone-attack-
us-forces-jordan-2024-01-28.


                                               54
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       151.   Fifteen years ago, Carol’s eldest daughter, Koren, married Guil Gastone Hazoutte.

They moved into a rental in Nir Oz and together had four children: Yakir Alfred, Boaz Shalom,

Amos, and Maayan Gani.

       152.   Next door to Koren lived her only brother, and Carol’s only son, Yahonatan

Siman-Tov, with his wife, Tamar, and their three children—twins Arbel and Shachar (six years

old), and Omer (two years old). (Arbel and Shachar were American citizens.)




                          (Yahonatan, Shachar, Tamar, Omer, Arbel.164)

       153.   Koren’s sister, Amit, lived directly across from Koren together with her husband,

Yishai, and their four children, Gaya, Noam, Neta, and Shailo.

       154.   The three families—all of Carol’s children and grandchildren—were recently

approved for membership into the kibbutz and were planning to build houses together on a plot

next to Carol’s home. Construction was going to begin in November.

       155.   Carol’s large family in Nir Oz lived a comfortable, simple, and happy life. They

were a large presence in the small, tight-knit community. They participated in the farmwork.

They shared the communities’ vision and actions towards peaceful co-existence with their


164
    https://www.timesofisrael.com/terrorists-murdered-entire-young-family-sheltering-in-
kibbutz-nir-oz-saferoom.


                                              55
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neighbors in Gaza. And they rarely felt the need to lock their doors in the safety of the

kibbutz—indeed, the Hazouttes did not even have a key to their front door.

       156.   At about 6:20 a.m. on October 7, 2023, rocket sirens blared in Nir Oz. Koren and

her family went to their safe room. Carol did the same, taking her dog with her. Yahonatan

took his family to their safe room. And Amit went with her family to their shelter. They all

expected the sirens to end within a few minutes. Carol did not bring her phone with her. Koren

took almost nothing—no supply of water, no food, just the baby’s sippy cup.

       157.   On October 7, the sirens did not stop. At about 6:50 a.m., Koren, Guil, and their

four young children heard bursts of automatic gun fire. Guil immediately knew that something

was wrong: These were not the sounds of Israeli military or police—the Israeli army shoots

tactically, not in mindless bursts of automatic fire. As unthinkable as a terrorist infiltration was,

Guil grabbed a knife from the kitchen (and a phone charger), brought the dog inside, and locked

the safe room door.

       158.   At 6:55 a.m., Amit received a message from a friend outside that there were

heavily armed terrorists in the kibbutz. This was the first of many messages that advised Amit

and her family to lock the safe room door and not leave under any circumstances.

       159.   Soon, sounds of elated Arabic shouting, and booming, wedding-like Arabic music

reached Koren and Guil’s safe room, as the terrorists celebrated the massacre they were carrying

out.

       160.   Terrified, Amit and Koren watched separately as messages and Facebook feeds

(some activated by the terrorists) reported that Hamas-led battalions had overtaken the town,

broken into safe rooms, and either executed people or rounded them up onto kibbutz-owned

vehicles. Everyone in the kibbutz who owned a gun had been targeted and shot. Later, the




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terrorists were found to have been given intelligence on who the security personnel were, where

they lived, and where the weapons were stored.

       161.    As Koren and Amit were sheltering with their families, Hamas-led terrorists

entered the house of their mother, Carol Siman Tov, and found the safe room. They broke down

the door and found the unarmed 70-year old retired nurse sheltering, defenseless, and fearful,

together with her dog, Charlie. They shot and killed Carol and her dog.

       162.    At about 9:00 a.m., terrorists entered Amit’s home. They shot at the safe room’s

door handle as Yishai held it tight. Each bullet sent waves of pain through Yishai’s hand but the

terrorists failed to breach the door.

       163.    At about 9:30 a.m., a team of terrorists entered Koren’s home. They attempted to

find Koren, Guil, and their children but were unable to breach the safe room door, in part

because of its location within the house (at the end of a narrow hallway) which made shooting at

or blowing up the door difficult. Guil held the handle, attempting to keep the terrorists from his

family. The family kept still, in the dark. When the terrorists failed to breach the safe room

(they might not have known the family was in the room), they moved to the next home—

operating with military efficiency to inflict maximum suffering.

       164.    Next door, by 9:45 a.m., the terrorists had entered the home of Koren and Amit’s

brother, Yahonatan, and found the safe room. Yahonatan held the handle on the door to protect

his wife and children. The terrorists shot high-caliber bullets through the door, hitting

Yahonatan and Tamar.




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                    (From Yahonatan’s safe room: bullet holes in door and furniture.)

      165.    Yahonatan and Tamar suffered critical wounds. Hiding with their children, they

bled profusely.




                  (From Yahonatan’s safe room: blood-soaked carpet, floor, and beds.)

      166.    The terrorists were unable to breach Yahonatan’s safe room door. They left the

house and set it ablaze, burning Yahonatan, Tamar, Arbel, Shachar, and Omer alive. As the fire

raged, thick black smoke filled the home. The family huddled together, hugging each other in a

final embrace, with Yahonatan and Tamar attempting to save their children from the smoke.

But they could not escape. The flames filled the house. The heat and black smoke filled the

room. The terrorists waited outside to see if anyone would emerge. Yahonatan, Tamar, Arbel,

Shachar, and Omer each died from smoke inhalation. As they writhed and suffocated, foam

overflowed from their mouths.




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               (Burned remains of Yahonatan’s home and bullet-riddled safe room door.)

      167.    Crossing the road, the terrorists returned to Amit and Yishai’s house. At this

point, their two-year old son was awake and screaming. He had no food or water since he woke

up. He was scared, thirsty, and hungry. As the terrorists entered the home, the older children

begged their mother to muffle the baby and save their lives. Amit could not suffocate her baby.

She helped Yishai hold the door handle as the terrorists shot at it again. They could smell the

gun powder. Each bullet that hit the handle reverberated through their bodies. But the bullets

did not breach.

      168.    As Shailo continued crying and the older children begged Amit to quiet him, Amit

found a bottle in the room and filled it from the urine in a box that the family had been using to

relieve themselves. She told Shailo it was a special juice and hoped it might quench his thirst.

He took a sip and immediately threw up.

      169.    At about 10:30 a.m., Koren and Guil heard women and children in their home,

pouring liquids, rummaging around, and making a commotion. Guil feared that the invaders

were spilling gasoline to burn down the house. He wet a spare cloth with urine and placed it at

the bottom of the door to block smoke.

      170.    At about the same time, a group of terrorists returned to Amit and Yishai’s home

with violent focus. They pounded, kicked, and slammed the safe room door, yelling “yiftach

ellbab”—Arabic for “open the door.” The family was certain that the terrorists would breach




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the door and that the family would be violently murdered. When the terrorists did not succeed

in knocking down the door, they poured gasoline inside the house. The family could smell it.

Then, the terrorists shot a rocket propelled grenade into the house and set it on fire. The family

felt the house explode. They heard terrorists in the back yard, waiting for the family to flee out

the window.

      171.    At about 11:00 a.m., Amit and Yishai’s home went up in a conflagration. The

safe room door visibly boiled and the handle became untouchable. By 11:30 a.m., the

temperature inside reached cooking levels. Black and white smoke creeped in from under the

door. They tried desperately to find a source of air, using hangers to try and poke through any

weak spots in the wall. The baby was inconsolable and their oldest begged to let her leave the

room and be shot rather than be burned alive. Amit used her daughter’s phone to send some

goodbye messages. Then the family sat on a mattress and hugged. Amit was determined that

the family would either live together or die together and she told this to her children. As the

smoke intensified, Amit opened the window the tiniest crack and, for the rest of the day, one

person at a time took turns breathing from that limited source of air.

      172.    At about 4:00 p.m., members of the Israel Defense Forces reached the area of

Koren, and Amit and Yahonatan’s homes.

      173.    Yahonatan’s home had melted and collapsed—the safe room was the only

structural element remaining. Through the window, the soldiers found the bodies of Yahonatan,

Tamar, Arbel, Shachar, and Omer.

      174.    In the midst of a desperate rescue and recovery operation, several of the Special

Forces that had found and evacuated the bodies of Yahonatan’s family requested their




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commander’s permission to take a pause because what they had seen in Yahonatan’s home was

more gruesome than what they had seen on the battlefield.




                 (Israeli soldiers paused after finding Siman-Tov family burned alive.)

      175.    Hearing the sound of Israeli authorities, Guil cracked open his safe room window

and saw about 10 soldiers. He and his wife Koren waited to be rescued, unaware that the

soldiers had paused after seeing the inhumanity inflicted on their relatives next door.

      176.    Around 4 p.m., Koren, Guil, Yakir, Boaz, Amos, and Maayan were rescued from

their safe room. They emerged to a home they did not recognize: Everything had been taken,

broken, or vandalized. The children’s bedrooms had been stripped of toys, looted, and defiled.

Days later, when the children were asked by a therapist to describe the scariest part of the day,

each spoke about the sight of their rooms.




                               (Hazoutte home looted and vandalized.)




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      177.    Koren immediately begged the soldiers to check on Yahonatan’s family next

door. She could see their house had been badly burned but that the safe room was intact. They

assured her they would, unable to deliver the news of what they had found there.

      178.    At about 4:45 p.m., the army rescued Amit, Yishai, Gaya, Noam, Neta, and

Shailo. They emerged to an unimaginable scene. Their home had nearly burned down and it

was on fire even while water was puddled everywhere from the burst pipes. Broken glass and

their trashed belongings were strewn all over the floors.




                           (Amit & Yishai’s home after October 7 Attack.)

      179.    The moment Amit stepped outside, she screamed for someone to check on

Yahonatan and his family across the street. She could see that their safe room window was

burned black. Nobody could bear to tell Amit what they had already seen. But she was so

insistent that one soldier feigned checking and, not wanting to cause her more suffering,

returned to tell her that they had been evacuated.

      180.    The surviving families met at an evacuation point, in the town kindergarten where

they were kept, with everyone else who survived, including several badly injured people and

next to trucks serving as a temporary morgue for those who had been murdered. On the way

there, Amit was struck by the sight of her town on fire, flooded from burst pipes, and littered




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with sandals from Gazans that had entered the town and traded their shoes for those they stolen

from homes in Nir Oz. Soon, Amit and Koren learned that Jonny and Carol had been murdered.

Jonny and Tamar had been seen with bullet holes on their bodies and the children appeared to be

covered in their parents’ blood, with signs of black foam around their mouths and noses from

smoke inhalation

      181.    Carol’s siblings in the United States, Trudi, Terri, and David, spent October 7

worried that Carol was unreachable. They had no news of her situation, while reports reached

them that Nir Oz was under attack.




           (Messages from David and Terri to Carol on October 7; sent but never received.)

      182.    In the aftermath of the October 7 Attack, Carol’s sister Terri cried for days. She

had no appetite for weeks. She could not sleep for about two months. And she has compulsive

thoughts about Carol’s last moments. In the aftermath of Carol’s murder, her sister Trudi has

surrounded herself with white noise. For months, Trudi could not focus enough to read, though

reading was her favorite hobby. She needs to sleep with the television on to drown out thoughts

about what happened to Carol. Carol’s brother David cried for days after her murder. Every

night he thinks about what happened to her, unable to sleep while his mind retraces Carol’s

terrifying last moments alive.

      183.    Koren has been unable to return to work. She is dislocated, traumatized, grieving,

and caring for her children, who are traumatized and do not have a school to return to. Koren

suffers immeasurable grief from the execution of her mother, her brother, and his entire family.




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        184.   Guil Hazoutte, a high-level employee with an international financial company,

has been unable to return to work. He suffers post-traumatic stress, including debilitating panic

attacks triggered by loud noise or confined spaces. He speaks regularly with a therapist and

consults with a psychiatrist to cope with the severe distress from his experiences on October 7.

        185.   Koren and Guil’s children, Yakir Alfred, Boaz Shalom, Amos, and Maayan Gani

are displaced from their home. They are grieving and learning how to cope after the loss of

their grandmother, their aunt, uncle, cousins, and many friends.

        186.   Amit Vahaba is numb when she is not overwhelmed with the grief of losing her

mother and brother, who were murdered in the terrifying experience that she had survived. For

a long time, her entire body has been in pain from the shock of the bullets while she held the

door. She is told her survival was a miracle. But she cannot imagine a worse miracle: surviving

to bear the pain of so many of her family members murdered and her own family terrorized,

displaced, and ripped apart. Her husband, Yishai, has recurring nightmares in which he is

desperately holding the door handle to save his family’s life. Yishai also has experienced acute

pain from holding the door handle while the terrorists shot bullets at it. Amit and Yishai have

seen therapists. But there is no comfort to be had there. They lost a third of their family, their

home, their community, and every source of stability in their lives.

        187.   Amit and Yishai’s children are severely troubled by their terrifying near-death

experience. And they are destabilized by the murder of their grandmother, aunt, uncle, and

cousins. They wake up screaming with nightmares. None are they the same as they were

before. Two-year old Shailo still asks for his murdered cousin, Omer Siman-Tov, “where is my

Omi.”




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            (Final resting place of Yahonatan, Tamar, Arbel, Shachar, and Omer Siman-Tov.)

      B.        Hamas murdered Aviv Atzili and took Liat Atzili as a hostage.

      188.      The Atzili family—parents Liat and Aviv and their children Ofri, Netta, and

Ayah—lived in Nir Oz, Israel. The family shared a passion for travelling. In August 2023, they

travelled to Yellowstone National Park, to New York, and to visit family in Connecticut.




           (Ofri, Aviv, & Netta in Yellowstone; Liat with her father, Yehuda Beinin, in New York)

      189.      Aviv was the rock of the family—admired by all and seemingly capable of

everything, whether mechanical, electrical, technical, painting, or anything else. He managed

the repair garage for the community’s farming equipment, keeping the tractors and other

machinery in working order for the community’s agriculture operations. He earned a reputation

as someone who could be counted on in the community to be there when needed. He put his

heart and soul into everything he did.




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                                     (Liat Atzili with Aviv Atzili)

      190.    At 6:30 a.m. on October 7, Liat, Aviv, Ofri, and Netta were alarmed when

repeated rocket alert sirens went off. Liat and Aviv went to their safe room. Ofri went to the

safe room in his apartment. Netta also went to the safe room in his apartment, though he had

been preparing to go to the beach that day with his father and grandfather.

      191.    A few minutes later, Liat and Aviv heard gunshots. Aviv went out to investigate

and to patrol together with a neighbor.

      192.    Ofri emerged briefly from his safe room and saw terrorists in the street: two

armed men driving a Toyota truck and a third walking, not visibly armed but clearly drugged.

Ofri went to a hiding spot in his apartment.

      193.    Netta also heard the gunshots. And he saw messages from neighbors that

terrorists were breaking into homes and attacking. Netta snuck out of his safe room, grabbed a




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knife, and turned off the lights. He was terrified of being seen and certain he would be

murdered, though he hoped to at least put up some resistance.

       194.   At 7:15 a.m., Aviv returned to check on Liat. At 8:30 a.m., he texted his family

that terrorists were in the town, that he had taken a few terrorists out, and assured them that

everything would be ok. That was the last Liat, Ofri, Netta, and Ayah heard from Aviv.

       195.   At about 9:00 a.m., Ayah Atzili was in Lotan, Israel where she was volunteering

on a farm. A friend told her about the events unfolding in Nir Oz. When she checked the

community chat on her phone, she found over 300 messages reporting that terrorists were

attacking the town, burning houses, firing weapons, and blowing things up. People were

begging for help. Ayah called her brothers, Netta and Ofri, and called her mother. They were

unharmed and said that they could not talk because they had to stay hidden. Ayah fell into a

deep despair—crying and hopeless. A friend intervened to help her breathe and moderate the

horror she was witnessing on her phone.

       196.   Between 9:00 and 10:00 a.m., Aviv Atzili was shot and killed by Hamas-led

terrorists in Nir Oz. His body was taken to Gaza.

       197.   Soon, Liat began hearing screaming, and shrieks of pain amongst endless

gunfire—especially coming from the direction of the town’s infirmary. People came into her

house. A teenager from Gaza opened the safe room door and demanded money. Liat told him

that she had none. Others came through the house to rummage and loot.

       198.   Terrorists also entered Netta’s apartment, although they did not breach the safe

room. Netta was terrified as he heard Arabic shouts inside his apartment. The intruders seemed

distracted by ransacking his apartment, and impressed by his laptop computer that had been a

gift from his grandparents, which they stole.




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      199.    At about 11:00 a.m., two armed terrorists dressed in military uniforms broke into

Liat’s safe room and ordered her to follow them to a car they had stolen.

      200.    As she was complying, terrorists vandalized her home and set it on fire.




                               (Atzili home after October 7 Attack.)

      201.    Five or six armed and uniformed terrorists piled into the car with Aviv and an

injured neighbor from Nir Oz. They filmed Liat and her neighbor being taken hostage, and they

drove to Khan Yunis, Gaza. Liat was taken to the apartment of her kidnapper’s parents. Liat’s

injured neighbor was taken elsewhere and Liat was left alone with the terrorist’s family. She

cried uncontrollably.




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        202.   At about 3:00 p.m., Ofri was rescued from his apartment. At about 5:30 p.m.,

Netta was rescued. They met at an evacuation point but their parents were not accounted for.

Ofri and Netta updated Ayah that they were ok but that they had not yet located Liat or Aviv.

        203.   Over the next 52 days, Liat was held captive in Gaza. Hamas shuttled her

between four locations in Khan Yunis, always guarded by Hamas men. She had no news about

her family and was in mortal fear.

        204.   Liat’s parents—Yehuda and Chaya Beinin—and her children, Ofri, Netta, and

Ayah Atzili were distraught, as was Liat’s sister Tal Beinin. They spent every day of the nearly

next two months doing everything they could to pull themselves together, put aside their pain,

and advocate for their missing parents.




                      (Posters advocating for the release of Liat and Aviv Atzili.)

        205.   Netta travelled to America with Liat’s father, Yehuda Beinin, to join Liat’s sister

Tal Beinin and advocate in public and private for any help to secure Liat and Aviv’s release

from Hamas captivity. “I want my parents back so badly, I just want them back,” he begged on

national television.165




165
      https://www.facebook.com/watch/?v=348547944200074.


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          206.   For Netta, Yehuda, Tal, and the rest of the family, the uncertainty over Liat and

Aviv’s whereabouts and fate was excruciating.

          207.   Hamas negotiated with the Israeli government and others to exchange Liat for a

cease-fire and the release of Palestinians held in Israel for committing acts of terrorism.

          208.   On November 28, 2023, Hamas exchanged Liat and several other hostages for an

additional day of cease-fire and the release of scores of convicted Palestinians serving sentences

in Israel. On her route back into Israel, Liat was informed that her children had survived but

that her husband had been injured and taken into Gaza. Liat’s students lined the street, with

scores of others, to witness and celebrate her release, and to welcome her back to freedom in

Israel.

          209.   On November 29, Liat was told that DNA evidence indicated that Aviv had been

murdered. A day after reuniting with her children, she told them that their father was gone—

murdered on October 7. His body was not recovered.

          210.   Liat has struggled to return to life after being held hostage and suffering the loss

of her husband. Her parents and children all cope in different ways: Ofri cancelled his travel



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plans and has taken on a role working the town’s agriculture while Nir Oz has been otherwise

evacuated. Netta has been unable to return to work or school. He is working with a therapist to

learn how to cope. Ayah has thrown herself back into volunteer work while grieving over the

loss of her father. The Atzili family lost its primary breadwinner, Aviv. Liat is triggered by

crowds and noise but nevertheless has had to return to work to support her family—widowed

and returning to life from captivity.




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      C.      Hamas murdered Judy Weinstein Haggai and Gad Haggai

      211.    Judy Weinstein Haggai and Gad Haggai were a beloved couple living in kibbutz

Nir Oz. They shared a wonderful life together, often surrounded by their four children, Iris

Weinstein Haggai, Ahl Haggai, Rahm Haggai, and Zohar Haggai, and their grandchildren.




             (Judy Weinstein Haggai, husband Ron Hagai, and their children and a grandchild166)

      212.    Every Saturday morning, around 6:00 a.m., Judy and Gad would go for a walk in

the natural surroundings in and around their kibbutz.




166
    https://www.haaretz.com/israel-news/2023-10-11/ty-article-magazine/.premium/true-
soulmates-shot-by-hamas-near-gaza-and-family-must-scrambles-for-answers/0000018b-1f4e-
d465-abbb-1ffedef00000.


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                                              (Judy and Gad.167)

      213.     Their walk on October 7 would be their last. At around 6:30 a.m., rocket sirens

went off. Gad and Judy were out in the open, exposed. They took cover by laying flat on the

ground. The rocket sirens went off, over and over. They stayed low and waited. Daughter Iris

had heard about the attacks and texted her mother. Judy responded, as indicated below.




             (Text message from Judy Weinstein to her family on the morning of October 7.)

      214.     At about 6:50 a.m., heavily-armed terrorists on motorbikes passed the couple

lying face down on the ground. Judy and Gad were terrified and stayed down. The terrorists

shot Gad in the head and shot Judy twice, once in the face and once in the arm. Gad’s injury

was horrific, his brain matter had been shot out of his head. Judy was alive but badly injured.

      215.     Judy called desperately for help. Nobody could come. The terrorists had

infiltrated Nir Oz and were already shooting people who might have been able to help.




167
    https://abc7chicago.com/news-israel-hamas-judith-weinstein-haggai-how-many-hostages-
has-killed/14235460.


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        216.     At 7:14 a.m., an Israeli national ambulance service called Judy. She described her

 husband’s fatal injuries and said that she had been shot. The ambulance never arrived; terrorists

 had overtaken the streets.

        217.     By 7:26 a.m., Judy’s phone turned off. She was never heard from again.

        218.     The terrorists took Judy and Gad on a truck into Gaza. Although the family

 would not learn these facts until weeks later, Gad was dead and Judy had likely been murdered

 at that point, as well.

        219.     Judy and Gad’s family spent the next days and weeks with no news, terrified, and

 distraught. News reports of Judy and Gad’s uncertain situation created even more pain. The

 family advocated zealously for Judy and Gad’s return.

        220.     During the November 2023 hostage releases, they waited every day for news that

 Judy would be released. She was not. As the weeks passed, she became the last American

 woman still thought to be held hostage in Gaza.

        221.     On December 22, 2023, news articles reported that Gad had been killed. Judy’s

 family was devastated. President Biden stated: “Jill and I are heartbroken by the news that

 American Gad Haggai is now believed to have been killed by Hamas on October 7. We continue

 to pray for the well-being and safe return of his wife, Judy.”168 A week later came news that

 Judy had also been killed. To this day, their bodies remain in Gaza.

        222.     President Biden stated that he was “devastated” by the news of Judy’s murder.

 “We are holding Judy and Gad’s four children, seven grandchildren, and other loved ones close

 to our hearts. I will never forget what their daughter, and the family members of other




168
    https://www.whitehouse.gov/briefing-room/statements-releases/2023/12/22/statement-from-president-joe-biden-
on-gad-haggai.


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 American held hostage in Gaza, have shared with me. They have been living through hell for

 weeks. No family should have to endure such an ordeal.”169

        223.     Judy and Gad’s children and siblings are overwhelmed with grief. They suffered

 the first ordeal of believing that, even though their parents had been shot, they might have been

 taken hostage and still be alive. And then the horrible news came that Judy and Gad had been

 murdered and that they will never see or hear their beloved parents again. Nor could they find

 any solace in putting Judy and Gad to rest. They have been tortured further with the knowledge

 that the terrorists are still holding Judy and Gad’s remains, perhaps for leverage.

        D.       Hamas shot Shachar Butler.

        224.     Shachar Butler was the chief of security for kibbutz Nir Oz. He wore many hats:

 sheriff, fireman, and emergency services coordinator. Much of Shachar’s family lived around

 him in Nir Oz including his mother, father, and younger brother.

        225.     According to a map of Nir Oz found after the attack on the body of a terrorist,

 when Hamas headed for Nir Oz on October 7, under the cover of rocket fire, they had already

 marked Shachar’s home with an “X” as their first target.

        226.     At 6:30 a.m. on October 7, 2023, Shachar took his wife and three children (ages

 ten, seven, and two) into the home’s safe room. As the rocket alarms went off again and again,

 Shachar became concerned that something unusual was underway. Because there was no cell

 phone reception in the safe room, Shachar left the room to check his phone.

        227.     At about 6:50 a.m., Shachar received a call from the community’s ambulance

 driver: An elderly couple had been shot outside the gates while on a morning walk. The

 ambulance driver wanted permission to go out and help them. But with rockets flying overhead


169
    https://www.whitehouse.gov/briefing-room/statements-releases/2023/12/28/statement-from-president-joe-biden-
on-judith-weinstein.


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and alarms continuing to go off, it was too dangerous. Shachar contacted the army to request an

armed car to retrieve the injured couple. He could not reach anyone.

       228.   It was then about 7:00 a.m. Shachar got into his tactical gear. He looked outside

and saw a truck loaded with terrorists heading straight for his house. They were dressed in

military uniforms and armed with AK-47 rifles, rocket-propelled grenades, and a truck-mounted

heavy machine gun. The terrorists were also equipped with maps of the kibbutz and intelligence

to target and neutralize Shachar.

       229.   Within seconds, around 20 terrorists surrounded Shachar’s home. He was

isolated from the rest of his first response team, all located deeper inside the kibbutz.

       230.   Soon, calls were flooding into Shachar’s phone: Terrorists had breached both of

the community’s gates and were attacking people in their homes. The messages were

increasingly horrifying. Shachar remained surrounded by a battalion of heavily-armed

terrorists.

       231.   The terrorists vandalized and then burned Shachar’s truck.




                               (Shachar’s truck, destroyed by Hamas.)

       232.   At about 7:15 a.m., a terrorist attempted to breach Shachar’s house. He shot at

him and heard screams in Arabic followed by a burst of gunfire through his windows. Another

terrorist tried to breach the house through a window. Shachar shot again. The terrorists




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responded with grenades. Shachar’s ears rang from the explosions and he lost most of his

hearing. But he heard his children scream from the safe room.




                               (Shachar’s home, riddled with bullets.)

       233.   Shachar was sure that the terrorists would breach his home. They shot more

bullets through windows and doors, from multiple directions. At about 8:20 a.m., as he

exchanged fire with the terrorists, a bullet hit Shachar and he fell to the ground.

       234.   Shachar’s wife dragged him into the safe room and pressed a rag on his open

wound. He held the door handle to prevent it from being breached, terrified that terrorists

would enter and kill his family. For the next 10 hours, Shachar bled profusely onto the safe

room floor, with his wife and young children just feet away. The family made do with a single

bottle of water and used a towel laid in a corner of the room as a toilet.

       235.   The terrorists remained just outside the safe room windows for hours. At round

10:00 a.m. the family heard the sounds of women and children from Gaza, yelling and singing

in Arabic. They and the terrorists looted everything—the car, bicycles, a child’s ATV, sandbox

games, an antique scooter—and they destroyed the outdoor shed.




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                                    (Outdoor shed, destroyed.)

      236.    At 6:20 p.m., the Israeli army reached Shachar and his family. Shachar was taken

out on a stretcher to an ambulance and to Soroka hospital, where his wound was treated.

      237.    Shachar and his family have been displaced by the attack. He is distraught and a

different person. He cannot sleep. He is struggling to find his steady, energetic, and patient

self. Everyday tasks have become difficult. He is triggered by sudden or loud sounds.

Shachar’s children are also displaced. They have continued to ask questions about what they

saw that day, including especially Shachar’s injury and evacuation and what happened to their

home. His oldest daughter (10 years old) asks about her friends, many of whose parents and

siblings were kidnapped. His youngest son, two years old, has asked about his missing cousin

and friend, four-year old Omer Siman-Tov, who Hamas terrorists murdered.

      E.      Hamas murdered May Naim.

      238.    May (pronounced: my) Naim was a kind, beautiful, and magnetic young woman.

She planned to join El Al Airlines as a flight attendant. Her training was set to begin at the end

of October. In the meantime she was working as a waitress and babysitter. She particularly

loved caring for babies. May also loved to travel. She sang, she danced, she always carried a

smile, and everyone she met fell in love with her. She brought light and life, everywhere she

went, to all around her.



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                                     (May Naim, 24 years old.)

      239.    May lived with her parents, Anat Sharf Naim and Ofer Naim, and with her

siblings, her older sister Shelly and her younger brothers Tal and Ran. Shelly and May had a

close relationship. Shelly adored her younger sister, the “queen of her life.” The Naims live in

Gan Chaim, a small town outside Tel Aviv. Next door lives May’s grandfather, Shlomo Sharf,

a well-known Israeli soccer champion, coach, and commentator. May adored her grandfather

and they shared a passion for cooking together.




                       (May with her father, Ofer; May with her mother, Anat)




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       240.       On October 6, 2023, May attended a wedding with her family and then celebrated

the religious holiday with a dinner at her grandfather’s home, surrounded by her family:

parents, siblings, aunts, uncles, and cousins, all of whom lived in Gan Chaim.

       241.       At around 11:00 pm that night, May left with two long-time friends (Lotan and

Ben) to attend the Nova music festival. They arrived and parked at around 11:30 p.m.

       242.       At around 6:00 a.m. on the morning of October 7, 2023, after a night of singing

and dancing with friends, May’s friends went to the car to leave. May was to join them soon.

Lotan and Ben continued singing and dancing as they prepared to drive home.

       243.       A little before 6:30 a.m., sirens went off and they could see hundreds of missiles

heading from Gaza. They went under the car to seek cover. A few minutes passed and the

sirens and explosions continued, so Lotan found May and Ben drove out of the festival grounds.

       244.       May felt panic and fear as she sat in the back seat and Ben drove north, searching

for a place to shelter as the sirens rang, missiles were seen, and explosions were heard.

       245.       At 6:30 a.m., when the sirens reached Gan Chaim, Anat called her daughter May.

May sounded terrified. She was crying but assured her mom that they were driving to look for

somewhere to shelter from the incoming missiles. When May did not pick up a follow-up call,

Anat spoke with May’s friend, Ben. Ben told Anat that May was suffering a panic attack but

assured Anat they were looking for shelter. May shared her phone’s location with her older

sister, Shelly.

       246.       At 7:16 a.m., May texted Shelly: “I am in stress.” Shelly replied: “Then

breathe.”

       247.       Around 7:30 a.m., May called Anat again. May’s fear and panic from the

explosions and sirens were so intense that Anat was unable to understand her.




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       248.   Soon, May, Lotan, and Ben pulled over at a roadside shelter, painted with a girl

blowing bubbles, outside Be’eri.170 Although the shelter was designed to hold about 10 people

while standing, it was packed with over 35 people fleeing from the Nova festival.




                               (The roadside shelter near Be’eri.171)

       249.   At 7:50 a.m., Shelly texted May: “how are you?” At about the same time, May

received a call from her uncle (Avraham), who called May at Anat’s request. May began

explaining to Avraham that they were terrified and looking for shelter, but that she believed they

would be safe within a few minutes. But then, a little before 8:00 a.m., she suddenly began to

scream: “Someone is shooting at us.” And then she cried: “Someone is dead next to my leg.”

And then, at about 8:05 a.m., May’s phone went dead.

       250.   Terrorists had descended on the roadside shelter. They shot those standing

outside. A grandfather inside the shelter, Avraham Sasi (see below), began organizing men to

fight back (though everyone inside was unarmed). But then terrorists threw hand grenades into



170
     https://www.nytimes.com/2023/11/11/world/middleeast/israel-hamas-oct-7-attack-
shelter.html.
171
     https://nypost.com/2023/11/18/news/american-survivors-of-hamas-terror-grateful-for-
second-chance.


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the structure. Sasi took a grenade and was blown up. The terrorists then forced their way into

the shelter. Several men fought back and they were shot and killed.




                             (Murdered people inside the shelter.172)

        251.   At 8:07 a.m., Shelly texted May: “Maykie [an endearing nickname] answer.”

The message showed as received but not read, and May did not answer. At 8:21 a.m., Shelly

texted again: “May” and then, “Please answer me.” Shelly’s last messages were sent, but never

received.




172
      https://www.youtube.com/watch?v=rdYf9McV0ok.


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          (Survivors inside protected by piles of those murdered; shelter, at time of rescue.173)

        252.   At about 5:00 p.m., May’s body was recovered and taken to a location for

processing with about 600 other bodies.

        253.   For the next few hours, Anat and Ofer received no news about their daughter.

Anat’s brother, Avraham, could not bear to tell Anat what he heard on the phone, nor did he

want to accept the possibility that May had been murdered.

        254.   At about 11:00 a.m. on October 7, Anat and Ofer had gone to the local police

station to report that their daughter May was missing. Shelly, Tal, and Ran waited at home,

hoping for any word from May. Ben’s father called to report that Ben was in the hospital in

Be’er Sheva but neither he nor Ben provided any more information about May. Ben was in

shock and for several days could not coherently report what had happened.

        255.   A few hours later, Anat and Ofer heard reports that many injured people were

being transported to Barzilai hospital in Ashkelon. Anat and Ofer drove an hour to Barzilai and




173
      https://www.youtube.com/watch?v=rdYf9McV0ok.


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stayed there searching for any sign of May, from about 3:00 p.m. October 7 until 1:00 a.m.

October 8, showing pictures of May to everyone they could. No one had seen her.

      256.    At about 1:00 a.m. on October 8, Ofer and Anat were directed to another location

where they provided DNA and answered questions about any identifying information for May,

such as a description of jewelry and clothing. They saw thousands of others there, all desperate

to find out whether their missing loved ones were alive.

      257.    At 5:00 a.m. on October 8, Ofer went to Netivot to search among survivors for

any sign of May. Anat went home and posted everywhere, searching for anyone that could

provide any information about May. Ofer stayed in Netivot on October 8 to search for May.

Anat called Ofer every few minutes for any news of May. Neither slept. No news came.

      258.    On Monday, October 9, May’s family feared that she had been kidnapped but

retained hope that she might still be alive. They continued posting May’s information

everywhere.

      259.    At about 2:00 p.m. on Tuesday, October 10, a person cleaning and processing

dead bodies from the October 7 Attack recognized May from Anat’s posts. She contacted Anat

and an hour later, confirmed that May’s body had been found.

      260.    On Wednesday morning, October 11, May was laid to rest. Prominent Israeli

singer-songwriter Odeya sang a tribute to May, titled White Angel.

      261.    May’s family will never be the same. Their grief is immeasurable and unceasing.

      262.    In a Times of Israel story, Shelly Naim was quoted, speaking about carrying on in

May’s absence: “I feel like a baby learning to walk, step by step, carefully without falling. …

This is the new reality, to learn to live with the largest pain my body and soul have ever known.

I miss you so much, I keep looking for signs and waiting for you to come visit me in a dream




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and give me a loud kiss and the strongest hug in the world so I can feel you even just for a

second. Please come!”174




                         (May and Shelly, as children; May and Shelly.175)

      263.    100 days after October 7, Shelly wrote: “Days that I have had no air: 100.” And

speaking to May, she wrote: “[You were] the happiest and brightest thing that exist[ed] in the

whole world. Nothing is the same without you and it never will be.”

      264.    Shlomo, Anat, Ofer, Tal, and Ran share Shelly’s grief over the horrific murder of

their granddaughter, daughter, and sister, May.

      F.      Hamas murdered Avraham Sasi and shot Plaintiff Danielle Sasi.

      265.    Avraham Sasi was a popular and energetic member of the Woodland Hills,

California community where he had raised three children and lived near his grandchildren.

Avraham had a zest for life and a heart of gold. Helping people in ways big and small was as

much a part of who he was as his reputation for retaining the energy of a young adult, even into

his sixties. Avraham married Ester Sasi in 1982. Their three daughters were his “diamonds”

and he was a best friend to each of them. Avraham also took in Gital Sasi, his niece, like a


174
    https://www.timesofisrael.com/may-naim-24-partygoer-who-loved-to-help-her-famous-
grandfather-cook;
175
    https://www.instagram.com/p/CzVjjHIM8Ik/?img_index=6.


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fourth daughter, because she lived nearly next door to him and his wife while her parents lived

in Israel. Avraham was also like a grandfather to Gital’s four young children.

      266.    Amit Sasi was Avraham’s nephew and godson. But with Amit living in

California, far from his parents in Israel, Avraham took Amit in as the son he never had.

Avraham brought Amit into his business, helped him financially, invited him to family dinners,

and was his best friend—they spoke many times a day, every day.




                                  (Avraham Sasi, 65 years old.)

      267.    In September 2023, Avraham travelled to Israel for the Jewish holidays, together

with his wife, two of his daughters, siblings, nieces, and nephews. On that trip, Avraham’s

niece, Plaintiff Lee Sasi, got engaged and began planning her wedding for Spring 2024. The

Sasi family extended their trip so that Avraham could attend the Nova festival with his daughter

Danielle, Danielle’s husband, Maor, and Avraham’s niece, Lee. A longtime family friend from

Canada travelling with them, Alex, also joined.

      268.    Avraham left for the Nova Festival at 1 a.m. on October 7. This was the last time

his wife, Ester, saw him alive.

      269.    Avraham, Danielle, Maor, Lee, Nitzan, Lidor, and Alex arrived at the Nova

festival at 2 a.m. At about 6:30 a.m., as the sun was rising and the family was preparing to




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leave, they saw rockets in the sky and heard explosions. Avraham instructed everyone to go to

the car. At 6:38 a.m., Avraham, Danielle, Maor, Lee, and Alex drove to find safety at a

roadside shelter that they had seen on the way in, on the roadside near Be’eri.

       270.   Nitzan and Lidor drove separately. But at about 7:00 a.m., they were forced to

take cover in a roadside shelter near Re’im.176 About 30 others were there, most or all from the

Nova festival, several U.S. citizens among them. Nitzan texted her family that she was more

scared than she had ever been in her life.




                             (Nitzan at the shelter near Re’im, calling for help.)

       271.   Avraham, Danielle, Maor, Lee, and Alex arrived at the shelter near Be’eri at 7:06

a.m. Avraham directed Lee, Danielle, and Maor to walk deep inside the structure. It was

already packed with young people fleeing from the Hamas terrorists who were shooting those

attending the Nova festival. People inside were terrified and screaming.




176
     https://www.nytimes.com/2023/11/11/world/middleeast/israel-hamas-oct-7-attack-
shelter.html.


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       272.   Avraham positioned himself at the shelter entrance where he began speaking with

Alex and the other men, all unarmed, about how they could protect those inside.

       273.   At about 7:40 a.m., terrorists descended on the shelter near Re’im. A man sitting

outside begged the terrorists, in Arabic, to leave those inside alone.




                          (Terrorists surrounding the shelter near Re’im.177)

       274.   The terrorists were unmoved. They threw a grenade inside. Nitzan yelled in fear

and Lidor ran out. The terrorists aimed their machine guns at him, opened fire, and chased after

him while shooting until they were sure that he was dead and mutilated. When later found, his

body was nearly unidentifiable.




                   (Lidor running out of shelter after first grenade was thrown in. 178)


177
     https://www.timesofisrael.com/liveblog_entry/new-video-shows-hamas-attacking-ravers-
off-duty-soldier-throwing-back-their-grenades.
178
    https://www.timesofisrael.com/liveblog_entry/new-video-shows-hamas-attacking-ravers-off-
duty-soldier-throwing-back-their-grenades/


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         275.   After Lidor’s execution, Nitzan screamed and cried in fear. A few minutes later,

the terrorists resumed their assault on those inside the shelter by throwing in grenades. A young

man inside, Aner Shapira, picked up and threw back seven grenades, one after the other. The

terrorists threw an eighth grenade, which exploded inside. They threw in a ninth, a tenth, and an

eleventh, as well. Each exploded, wounding and murdering those trying to shelter inside. The

terrorists then entered the shelter and started shooting. Nitzan was wounded in her stomach and

died. Only 11 people inside the shelter survived the onslaught, including four that were taken

hostage (among those was Aner Shapira’s close friend, American citizen Hersh Goldberg-Polin,

last seen being taken by the terrorists with a self-applied tourniquet on his blown-off arm).179

         276.   At about 7:45 a.m., a man entered the shelter near Be’eri. Still inside and waiting

for the arrival of security or military units were Avraham, Danielle, Maor, Lee, and Alex (who

had a bleeding bullet wound in his leg). Avraham started positioning the men at the entrance,

telling them, “We cannot let any of those [terrorists] in here.” Those were among his last

words.

         277.   At about 8:00 a.m., terrorists again approached the shelter. Alex tried to dissuade

them from killing anyone else. In response, the terrorists shot Alex. Alex retreated into the

shelter, shot in the leg. The terrorists then lobbed a grenade into the shelter. Avraham Sasi took

the hit from the grenade and was blown up. The terrorists threw a Molotov cocktail into the

shelter. They then stepped inside, walking over the bodies of the people that they had just

murdered. Those still alive inside moved back in fear. The terrorists, wielding AK-47 rifles,

then shot everyone that they could see. Danielle Sasi was shot in the leg and her elbow was




179
     https://www.nytimes.com/2023/11/11/world/middleeast/israel-hamas-oct-7-attack-
shelter.html.


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fractured. A young woman in front of her was shot and fatally injured; her back was blown out

and she was screaming and crying in pain. Danielle and Maor tried to help the injured woman,

but she died of her wounds. Lee Sasi was sheltered by the bodies of the people in front of her

who had been killed. Black smoke filled the shelter and began to suffocate Lee. She put her

jacket over her mouth but blacked out. When she opened her eyes to check on whether her

uncle, Avraham, was ok, he was not. Other young women around her were injured, shrieking in

pain. One succumbed to her wounds. Another was shot in the leg and bled out. Alex was

murdered as well. All but 13 of those inside the shelter were killed in the initial attack.

Danielle called out for her father. But he did not answer. He had been killed.

       278.   After the initial assault, the terrorists remained around the shelter, shooting at cars

and passersby on the road. About every 15 to 20 minutes, they returned to shoot into and throw

stun grenades and hand grenades into the shelter. It seemed to Danielle and Lee that another

person died in each new assault.

       279.   Danielle covered her face with blood from her leg wound, to appear to the

terrorists to have already been killed. Maor sheltered Danielle beneath the just-murdered bodies

of fellow Nova festival attendees, including a young man named Lotan and a young woman

named Eden. The body of a third person fell on Danielle’s legs. She started counting the

seconds between explosions to estimate whether the terrorists had retreated far enough for the

survivors to try to escape. Lee spent time in between waves of attacks encouraging survivors to

stay positive and stay alive, while she texted their location to others. Lee called her mother to

say goodbye. Maor rendered rudimentary first aid to the injured survivors. Each explosion

brought more death and carnage to the shelter. Shrapnel had embedded itself over Danielle’s




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body and had entered her lungs. Lee felt the blast of each grenade and sensed a strange taste on

her tongue. It was the taste of someone else’s flesh that had been blown into her mouth.

       280.   After a few hours of these attacks, the terrorists fired a rocket propelled grenade at

the back of the structure. The resulting explosion was so powerful that it lifted Lee off the

ground.

       281.   At about 2:30 p.m., a civilian (the father of a young woman in the shelter) arrived

with a car, escorted by soldiers. He sped the survivors—there were only eight—away. All

along the road north they saw more carnage. The reality of what had happened finally hit Lee,

and she broke down crying for the first time that day.

       282.   Their family, including Avraham’s daughters Moran and Natalie, his wife Ester,

and his niece Gital had heard from Lee that Avraham had been murdered earlier that day but

they refused to believe it. As she was being evacuated, Danielle called and confirmed that her

father Avraham had been murdered in front of her at the roadside shelter near Be’eri and that his

body was still there.

       283.   Danielle, Maor, and Lee went to Soroka Hospital where, at about 3:30 p.m., they

joined the throng of horrifically injured people emerging from the Hamas-led massacre. All

around them, people were missing limbs, bloodied, and dead. The doctors advised Danielle to

wash her bullet wound with soap and water, explaining that they would not be able to operate

that day. Danielle went to a hospital in Netanya. The doctors removed the bullet from her leg.

She was hospitalized there for two weeks.

       284.   Avraham’s body was not found for nine days. His funeral was held on October

15. Thousands of mourners attended. It seemed to his family that everyone had a story of how




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Avraham had helped them in some way—stories the family had known nothing about. His wife,

Ester, lost the love and rock of her life. Her grief is endless and immense.

      285.    A few days later, Gital held a memorial for Avraham in her home. Hundreds of

people attended. Gital could not bring herself to speak. For one month after learning of

Avraham’s murder, she cried endlessly. Because Avraham had assumed the role of her father in

the United States, she feels that she has lost her father. Amit—Avraham’s nephew and godson,

who he had taken in like the son he never had, flew to Israel upon learning of Avraham’s

murder. In the aftermath of his uncle and godfather’s death, he is a broken person. He sees a

psychologist but still cannot function. Getting out of bed in the morning is excruciating and he

does so only because he has a two-year old child to care for. Amit feels that he lost his best

friend and father on October 7.

      286.    Danielle has struggled to return to life after witnessing the murder of her father

and so many others. In addition to the pain and suffering from a bullet wound, Danielle has

pain and ongoing medical needs from the shrapnel embedded throughout her body, including in

her lungs. She needs additional surgery for her leg and specialists for her nervous system. Her

husband, Maor, lost most of his hearing in one ear from the repeated explosions inside the

shelter. Both Danielle and Maor suffer from tinnitus. Their baby son, Raphael, has suffered

from his parent’s pain and struggling. Danielle feels as if she can hear sounds from miles away.

And she becomes frightened at any sudden sound. Danielle has also struggled emotionally,

questioning why she survived, and struggling to find a purpose with her life. Things she

previously enjoyed, even loved—cooking, people, cleaning, and life—have lost all meaning.

Her family lost its core: Avraham was the glue that held the family together; his sudden murder

has left them feeling hopeless and lost.




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       287.   Moran flew to Israel on October 7 and did not sleep for a week after Avraham’s

murder. She has barely functioned in the months since. Her father played an outsized role in

her life: They had been neighbors for the past seven years. He was a daily presence in her life

and in the lives of her children. She has struggled to return to work as a lawyer, or even to

maintain her desire to live. She also has struggled as her children have coped through

misbehavior, endless questions, and daily talk about murder and death.

       288.   Natalie is lost without her father. She has uprooted herself and her family from

their idyllic life in an Israeli beach town to be near her family in California, where she can

grieve with them and search for a way forward.

       289.   Lee has not been the same since the October 7 Attack. She cannot eat. She

cannot work. And though Lee was once a very social person, she now wants only to be alone.

Before October 7, Lee was engaged and exuberant while planning her wedding; she now

struggles to even relate to her fiancé. She cannot shake the feeling that she is alone. She cannot

understand what happened. And she cannot answer why she survived. She is despondent. She

struggles to care for even herself. Lee’s parents and siblings—Plaintiffs Samantha Meltz, Eli

Sasi, and Daniel, Elin, and Tal Sasi—are suffering from the loss of the happy, competent, and

self-sufficient Lee they knew before October 7, 2023. They worry deeply about her. Despite

everything they have been doing to help her recover, nothing seems to help.

       290.   Avraham’s siblings—including Shulamith Zani, Ronit Rahoum, Ester Halif,

Yosef Sasi, Bekhor Sassi, Meir Sasy, Eli Sasi, Vito Sasy, Izhak Sasi, and Yaaqov Sasi—have

suffered tremendously in the aftermath of Avraham’s murder.




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      291.    Shulamith had a special relationship with Avraham. He took especially good care

of her, even giving her financial support for needed medical care. In the aftermath of

Avraham’s murder, she requires medication to function.

      292.    Ronit’s daughter, Nitzan, and Nitzan’s boyfriend, Lidor, were also murdered at

the Nova festival, after attending together with Avraham. Nitzan was like a second mother to

her three siblings: She was fun-loving, hard-working, and self-sufficient. She worked part-time

doing manicures and hoped to open her own salon. She had also worked as a babysitter, and

then as a nanny, for over 10 years. She was talented with children. Nitzan was four months

pregnant. Her family, especially Ronit, was thus elated that Nitzan would soon have children of

her own. Ronit has struggled to function since the murder of Avraham and her daughter Nitzan.

She sees a psychologist for help but still does none of the things she used to enjoy including

cooking and hosting guests. Instead, she just cries.




                                         (Nitzan Rahoum)




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       293.   Ester Halif had her world turned upside down by Avraham’s death. She no longer

cooks, she cries endlessly, and she has lost her ability to be happy. Ester started taking

medication, just to cope.

       294.   Before Avraham’s murder, Yosef had spoken to him every few days. He feels

that he lost a part of himself. He cannot sleep. He stopped caring for himself. He has lost his

will to move forward. And he cannot concentrate. Yosef was in two car accidents in the

months after October 7, 2023, both the result of his inability to focus in the aftermath of his

brother’s murder.

       295.   Bekhor also had a close relationship with Avraham. For decades, they lived near

each other in California. After Bekhor moved to Israel a few years ago, he continued to talk

with Avraham daily. Bekhor has changed in the aftermath of his brother’s murder. He cannot

sleep. He feels unstable. His relationships have suffered. And he cries at the thought of

Avraham or even just the sound of music. Bekhor visits Avraham’s grave regularly. He cannot

see himself ever being happy again.

       296.   Meir was a business partner with his brother Avraham. He now has obsessive

thoughts about Avraham’s death. He can no longer sleep at night. He has lost his desire for

life. And he takes medication just to function.

       297.   Eli Sasi struggles every day with the loss of his brother and the pain of his

daughter Lee. He struggles even to leave his house, requires sleeping pills, and constantly feels

confused. Eli talks about Avraham every day, and cries every time.

       298.   Vito Sasi is devastated and struggles to cope with his brother’s murder. His son,

Omri, was a deejay at the Nova festival. Omri had danced with his uncle Avraham just hours

before Avraham’s murder. Omri survived.




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       299.    Izhak Sasi lived near and worked with his brother Avraham. Avraham was

Izhak’s rock, especially after their mother had died. He is struggling daily. Izhak is a

professional driver. But he has had two car accidents in the months after October 7 because he

cannot concentrate. He suffers from obsessive thoughts about Avraham’s final moments. Since

losing Avraham, Izhak has felt only empty and sad.

       300.    Yaaqov Sasi is Avraham’s youngest brother. He is enveloped in grief in the

aftermath of his brother’s murder.

       G.      Hamas shot Guy Yedid.

       301.    For months before October 7, 2023, Margarita Shtivelman and her husband, Guy

Yedid, had been looking forward to the Nova music festival. They had volunteered to help as

staff—picking up litter, directing participants, and helping anyone in need.

       302.    Margarita is a property manager. She had lived in Forest Hills, Queens for 10

years before moving to Israel during the Coronavirus pandemic. Guy had worked sales in the

tech industry. Guy and Margarita were married in 2021. Their son was born later that year.

       303.    On October 6, 2023, Margarita and Guy were thrilled when the festival location

was announced, near Kibbutz Re’im, just 40 minutes from their home. They arrived early and

set up their campsite. The site was heavenly—a desert surrounded by forest, illuminated after

sunset with lights, music, and dancing. The only thing more inspiring was the site of sunrise

piercing the sky, as the nightlong music and dancing neared its end.

       304.    A little after 6:20 a.m., however, the sky was pierced with fire and explosions. At

first, Margarita thought that this might have been part of a planned surprise of fireworks. But

the fire and explosions persisted. And then the music stopped and frantic announcements rang

out: “Code Red! Code Red! Go home now! Run, go home!” Chaos ensued as many rushed for

their cars while others froze in fear.


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       305.   Margarita and Guy (together with Margarita’s sister Eden) quickly looked for

somewhere to shelter from the incoming rockets. They headed to a First Aid medical tent. A

young man came running, screaming almost incomprehensibly that his brother had been shot. It

seemed unreal. Margarita assumed that he might have become consumed by fear. Then, a golf

cart drove in fast with two girls onboard. They were screaming at the top of their lungs, bullet

wounds visible on their bodies, and blood everywhere. Guy told Margarita and Eden that they

need to run away, right then. He recalled seeing a small ticket booth trailer at the festival

entrance, so they ran for it as fast as they could. When they arrived at the ticket booth,

Margarita was shaking, nervous, terrified, and confused. They lay under the ticket counter

straight down, flat on the floor. Guy placed his body on top of Margarita’s to protect her. There

were eight windows, four on each side. But only one side was easily accessible from the

festival grounds. The booth was a trailer, with a door that locked.




                                 (Ticket booth trailer, after rescue.)

       306.   The fear in the room was palpable. Margarita, Guy, and Eden shook physically

and others urinated on themselves. They were soon joined by three others fleeing the terrorists.

One of them peeked out the windows and reported that the terrorists were heading towards

them. Automatic gunfire rang out. Screams of fear, injury, and death came from all around.




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For several hours, they heard gunshots and shrieks of horror as people fell to the ground around

the ticket booth. Vehicles and shouting terrorists passed just outside the windows. Elated

shouts of Arabic phrases (“Allahu akhbar” [God is great], “Itbakh al Yahud” [slaughter the

Jews]) and singing pierced the open windows and overlay the sounds of terror, gunshots, and

death. The heat inside the trailer was suffocating.

      307.    In every moment Margarita thought that she would be shot and killed. And then

bullets came spraying through. One went through a window and pierced a water bottle that

started dripping on Margarita as she lay there soiled, sweating, and shaking in fear. Others

came through the walls. Nobody moved or made a sound.




                           (Hiding in ticket booth, with bullet hole visible.)

      308.    It took some time after that rush of fear for the six hiding in the trailer to realize

that they were all alive. Then they realized that one of the men (named Gal) had been shot—a




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bullet in each knee; and that Margarita’s husband, Guy, had two gunshot wounds in the side of

his hip. The intense fear had masked even the pain of direct shots to the knees and hip.




              (Guy, hiding and with bullet wounds, next to pierced wall of ticket booth.)

      309.    The six hiding in the ticket booth texted their situation and locations to friends

and families, begging for help. At about 11:30 am, one of the terrorists found them in the booth,

after circling around to the back windows and peering in. He yelled for them to give him their

money and phones. They quickly and silently complied. He then said “yom tov [good day]”

and walked away. They were sure that others would soon return and murder them. And they

had no way to communicate with their families (who they knew would assume the worst).

      310.    Guy’s bleeding from his bullet wounds intensified. Rita forced herself to sit up,

put her jacket on Guy’s hip, and applied pressure to the wound. The Arabic shouting, singing,

and gunfire continued around her. Then came quiet. After some time, Margarita passed out or

fell asleep, as did others. Then shouting (“Allahu Akhbar”) and gunshots rang out again, as the




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terrorists shot people who were emerging from other hiding spots, hoping the festival site was

now clear. This pattern repeated: silence, passing out, awakening to shouting, screams, and

gunfire.

       311.   Around 2:00 p.m., Israeli soldiers arrived and rescued the six people from the

sweltering, bullet-ridden, soiled, and blood-soaked trailer, as the soldiers continued to fight the

terrorists that had remained on the festival grounds.

       312.   Margarita emerged to a scene that she could not comprehend, even after having

heard the horrible sounds of the past 7½ hours. The festival site was transformed from a sea of

happiness to a blanket of bullet-ridden and blood-soaked murder victims. She saw people she

knew, including the festival organizer, lying lifeless on the ground. She was tormented at the

thought of all the parents that would never see their children alive again.

       313.   Margarita and Guy were brought to a group of about 50 people who were being

evacuated—the only survivors from the festival grounds where hundreds had been alive earlier

that day. And many of that group of 50 survivors had been wounded by rifle fire. Everyone

tried to help, even the injured soldiers that joined them—cleaning wounds, tying off limbs, and

placing IV fluid lines.

       314.   Guy was escorted out to receive medical care. Margarita was left with the

survivors who could walk. She felt shame, an intense survivor’s guilt that she cannot shake.

She was evacuated in the back of a truck with about 20 others, at speeds so fast that she and

others yelled to beg the driver to slow down lest they fall off. They passed what had been a

traffic jam of dozens of cars, many still burning, that had been trapped by Hamas while

festivalgoers had tried to escape. Hamas terrorists had slaughtered all of the occupants.




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      315.    While being evacuated to the north, Margarita was transferred multiple times.

Along the way, Margarita asked someone to replace her soiled garments—wet with blood and

smelling of urine.

      316.    Guy was moved to two hospitals on October 7 but was told that neither could

remove the bullets at that time. To obtain surgical care for Guy, he and Margarita went to a

hospital in Greece. The surgeons removed one of the two bullets—a hollow point round

designed to explode inside the body and cause maximum organ damage and pain. The other

bullet fragment remains inside him.




                     (Fragment of hollow point bullet removed from Guy’s hip.)

      317.    For two months after October 7, Guy had an open wound. He still carries a bullet

fragment inside him. He cannot comfortably sit down or return to his job.

      318.    Margarita has been psychologically tortured by the attack that injured her

husband. She was planning to return to work but must care for her husband and their young

son. Her marriage suffered. Margarita sees a therapist on a regular basis.




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      H.      Hamas murdered Sagiv Baylin Ben Zvi.

      319.    Sagiv Baylin Ben Zvi was born in Israel in 1999 to Natalia Ben Zvi and Plaintiff

Guram Beniashvili. Guram moved to Brooklyn, New York in 2002 while Sagiv remained with

his mother, Natalia, and his grandmother, Maria Ben Zvi, in Holon, Israel.




                                 (Sagiv with his mother, Natalia.)

      320.    Sagiv was handsome, sociable, fun-loving, and meticulous. And he loved his

parents dearly. Sagiv stayed in touch with his father and they always maintained a close

relationship. They saw each other when Guram visited Israel and spoke regularly via WhatsApp

and FaceTime.




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                               (Sagiv Baylin Ben Zvi, 24 years old.)

      321.    From the time Sagiv left high school, he was the primary source of income for his

family.

      322.    In 2023, Sagiv began working as a bartender. He was saving money to attend

college in New York. His skill, good looks, and work ethic earned him handsome tips.

      323.    Sagiv hoped to live near his father once he moved to New York. Guram looked

forward to that.

      324.    At around 2:00 am on October 7, Sagiv returned home from work and then drove

with a friend to attend the Nova music festival. The last thing he said to his mother was that she

should not worry and that he would be back home in a few hours.

      325.    At around 6:30 am, as alarms blared around the music festival, Sagiv had just left

the festival, driving in his friend’s car and headed home. Between 6:55 and 7:00 a.m., Sagiv

reached the road into the town of Mefalsim in search of a place to shelter.




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                           (Sagiv’s car, following sign to turn into Mefalsim.)

      326.    As Sagiv drove to the entrance of Mefalsim, he encountered a battalion of Hamas-

led terrorists ambushing cars and murdering civilians. One terrorist launched a rocket propelled

grenade at Sagiv’s car.




  (Rocket propelled grenade being fired toward Sagiv’s car, center back, as it approached Mefalsim.)

      327.    Sagiv swerved, avoided the grenade, and took a hard right turn.




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          (Sagiv, far back white car, driving into Mefalsim, after terrorists in top left fired toward car.)

          328.     But the town’s gates were closed, as Mefalsim’s residents were fighting off the

attack.




   (Sagiv, far left white car, turning fast, while terrorists, top left, mobilize; view from inside kibbutz.)

          329.     The terror battalion executed an assault on the car. A terrorist approached the car

and shot Sagiv in the head, ending his life. His friend, Roni Petrovski, was shot and died next to

Sagiv in the passenger seat.




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                                  (Terrorists chase and fire into Sagiv’s car.)




                    (Terrorists attempt to pull Sagiv out of the car; terrorists loot the car.)

       330.       At 9:18 a.m. on October 7, Sagiv’s mother filed a missing person report with the

Israeli police.

       331.       Sagiv’s relatives in Israel began scouring hospitals, going room to room and then

car to car, looking for him among the wounded victims and hoping that he had been brought in

alive for medical treatment. They posted to Facebook, Instagram, and Twitter seeking any news

of Sagiv.

       332.       At 9:41 a.m., Sagiv’s phone tracked to the Indonesian Hospital in Gaza.




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               (Map showing Indonesian Hospital, inside Gaza and far from Mefalsim.)

      333.    For three days after October 7, there was no news of Sagiv. His parents spent

those days in agony, calling hospitals for any sign of Sagiv and not getting any sleep. Then, on

October 11, security personnel from Mefalsim responded to Sagiv’s parents that the car he was

driving had been found outside Mefalsim, bullet-ridden, blood-soaked, but with no sign of

Sagiv. The seatbelts had been cut.

      334.    On October 15, 2023, Israeli authorities informed Sagiv’s parents that he had been

kidnapped by Hamas and taken to Gaza.




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                    (Sagiv’s mother with posters advocating for Sagiv’s return.)

       335.   His family joined a group advocating for hostages; they printed posters. The New

York papers covered Guram’s search for his missing son.180




                     (New York Daily News headline from October 12, 2023. 181)




180
     https://web.archive.org/web/20231013032956/https://www.nydailynews.com/2023/10/12/
distraught-nyc-area-families-await-answers-from-gaza-about-two-men-missing-after-israel-
terror-attack.
181
     https://web.archive.org/web/20231013032956/https://www.nydailynews.com/2023/10/12/
distraught-nyc-area-families-await-answers-from-gaza-about-two-men-missing-after-israel-
terror-attack.


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       336.   The New York Daily News quoted his father, Guram Beniashvili: “I am trying

everything, with everyone, to try to find my son…. I called everyone…. You sit down and wait

and wait and wait and you don’t know what you are waiting for.”182 Guram also arranged for

Sagiv’s mother to be interviewed on CNN, searching for their son.

       337.   For 19 days, Sagiv’s parents experienced extreme emotional agony, believing that

their son was not only missing and injured, but also being held captive under the Hamas-

controlled Indonesian Hospital in Gaza, where his phone was last located online.

       338.   On October 25, 2023, Israeli authorities recovered Sagiv’s body and informed his

parents. Their grief was and has been immeasurable.

       339.   The next day, Sagiv’s funeral was held in Israel. Guram spoke through tears,

expressing the guilt of a parent who could not protect their child. Guram asked G-d to bring

back Sagiv and take Guram’s life in exchange. The pain he expressed that day has not subsided.

       340.   In the months after October 7, Guram has been unable to eat or sleep. He has lost

more than 20 pounds, vomiting nearly everything he has attempted to eat. Guram began taking

sleeping pills, but they failed to enable him to get even a few hours of sleep each night. Guram

has been unable to return to work, engulfed by the pain and suffering of losing Sagiv.

       I.     Hamas murdered Nadav Amikam.

       341.   Jessica met Nadav Amikam in 2014. They have lived together in Southern Israel

since 2015 as a married couple and parents but were never formally wed. In 2017, Jessica and

Nadav gave birth to a baby girl. In 2020, Jessica and Nadav had their second child, a baby boy.




182
     https://web.archive.org/web/20231013032956/https://www.nydailynews.com/2023/10/12/
distraught-nyc-area-families-await-answers-from-gaza-about-two-men-missing-after-israel-
terror-attack.


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                         (Nadav Amikam, 39 years old; Nadav and Jessica)

      342.    Before October 7, Nadav was the primary breadwinner for Jessica and their

children. Nadav was an elementary school teacher at a prominent institution. Jessica worked in

an accounting-related role at a factory.

      343.    In 2015, Jessica and Nadav moved to Kfar Aza. They applied for membership in

the kibbutz and were admitted in 2022. Membership in hand, they began to build a new house

in Kfar Aza where they were raising their family, among and near a loving community of

parents, siblings, cousins, and friends. They also raised a dog, loved by the family and

especially dear to their daughter. Their children attended community schools and the family

participated in community activities.

      344.    Jessica and Nadav’s home was near the center of Kfar Aza. From their home, you

could see much of the kibbutz.

      345.    As many families do, the couple marked the growth of their children on a

doorpost in their Kfar Aza home, recording their age and height every few months or so.




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    (Doorpost, scarred after October 7, where family had marked the children’s heights and ages.)

      346.    On October 6, 2023, the family travelled the short distance to Jessica’s parents’

home north of Kfar Aza to celebrate the Jewish holiday of Sukkot with Jessica’s parents,

brother, sister, nieces, and nephews. Because the party ended late, Jessica stayed with the

children for the night. Nadav left to drive back to Kfar Aza to take care of their dog. Jessica

was to join Nadav in Kfar Aza the next morning, on October 7, to participate in Kfar Aza’s

annual community-wide celebration of the Simchat Torah holiday.

      347.    At about 6:30 a.m. on October 7, Jessica awoke to the sound of explosions and

alarms. Because the children were sleeping, Jessica walked outside and called Nadav. He was

in their safe room at home in Kfar Aza. She urged him to pack a few belongings and come

north as quickly as possible to rejoin the family, as it sounded like fighting had broken out on

the Gaza border, perilously close to Kfar Aza.




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       348.   After Jessica’s first call to Nadav, the children woke up. As the minutes passed,

the sounds of alarms and explosions did not cease. With an increasing sense of urgency, Jessica

called Nadav at 6:45 a.m. to urge him to come up north as fast as possible. When Nadav picked

up, Jessica knew something was wrong. His voice, which she knew so well, was different.

Jessica repeated her request that Nadav drive to join the family as soon as possible. Nadav

responded that she should write out the list for him, in a text message, of whatever she needed

him to pack. She begged him to stay on the line with her but Nadav insisted on ending the

phone call, saying that he could not speak further. She thought that it was as if he knew

something she did not, but he did not want to elaborate. That was the last time Jessica heard

Nadav’s voice.

       349.   Nadav left their home, and between about 7:00 and 7:15 a.m. he was ambushed

by Hamas-led terrorists and shot multiple times. A witness saw Nadav lying on the ground,

injured but not dead. After an unknown amount of time lying face down, having received no

care for his injuries or relief from his pain, Nadav died from his gunshot wounds. His body was

not identified for another eight days.

       350.   Jessica spent the rest of October 7 desperately trying to reach Nadav on his phone

while neighbors reported terrorists running from house to house murdering entire families. The

messages that Jessica read from neighbors in the Kfar Aza WhatsApp group were horrifying:

First, people all around the kibbutz (not just one neighborhood) reported gunshots and people

yelling in Arabic. Then there were messages that terrorists were trying to break into their homes

and safe rooms, and that the terrorists were shooting at them. Neighbors were begging for

someone to come and save them before the terrorists breached their safe rooms, stating that they




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had been shot, and begging for help. Finally, the WhatsApp groups broadcast the horrific

reality that no help had arrived—friends, children, families were being slaughtered.

        351.   As Jessica desperately tried to reach Nadav after 7:00 a.m., she asked an official

who passed by to try to get her any news about him. He promised to radio an official in Kfar

Aza.

        352.   By 8:00 a.m., as the Hamas-led terrorists overtook Kfar Aza to murder and

terrorize its residents, they took up a strategic position in Jessica’s house. The terrorists

ransacked through her belongings.

        353.   At 9:00 a.m., the community official who had promised to inquire about Nadav

returned and took Jessica’s hand. He said that he had been unable to reach anyone. There were

a large number of terrorists active in Kfar Aza.

        354.   Fighting in Kfar Aza continued for several days after October 7, with terrorists

operating inside the town, including from inside Jessica’s house. As Israeli soldiers fought to

rescue residents of Kfar Aza, they met fierce terrorist resistance. Fighting around Jessica’s

home left terrorists dead inside and immediately outside the house.

        355.   On October 8, 9, 10, and 11, Jessica was tormented, desperately seeking

information about Nadav. She posted and messaged on WhatsApp and Facebook—asking

anyone for any information about whether he was hospitalized, taken hostage, or murdered. Her

Facebook post searching for Nadav attracted hateful pro-Hamas comments. Jessica cried

constantly. And she lied to her children, telling them mommy was crying because she was ill;

she withheld any news about their father.

        356.   On Thursday, October 12, a picture was posted on a WhatsApp group showing

only the lower legs of some of people who had been killed at Kfar Aza. Jessica recognized




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Nadav’s shoes. She knew then, after six tormented days, that he had been murdered. Jessica

had lost the love of her life, her partner, the father to her two young children, and the family’s

breadwinner.

       357.    Jessica also learned that the family dog had been shot and killed.

       358.    Jessica finally told her children what had happened—that there was a war, their

father was killed, and that they would never see him again. Their beloved dog was also gone.

The inconsolable grief of her two children only intensified Jessica’s pain and suffering.

       359.    The children have struggled to understand, as Jessica has had to learn to be a

widowed single mother, at a young age, while mourning the inexplicable, sudden, and shocking

loss of her partner and their idyllic life together.

       360.    To compound the suffering, Jessica’s home in Kfar Aza had been turned into a

battleground. A friend who had seen its condition warned Jessica not to return until the house

had been cleaned. But by happenstance, Jessica came across a video of her house that had been

posted on Facebook. The walls are now pockmarked with bullet holes. The floors are strewn

with hundreds of brass shell casings from automatic assault rifles and pistols. The family’s

beloved dog lies motionless, as if sleeping against a wall, where Hamas terrorists shot it again

and again. And a terrorist in his Hamas uniform is sprawled face down by the door. This is no

longer a home; it is not a place to which any family would ever want to return. It is instead a

hellscape that documents the suffering and death that Hamas inflicted on October 7 and in the

days thereafter.




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                      (Still scenes from video of Jessica’s home after October 7.)

      361.    As Israeli authorities processed and cleaned Jessica’s home, more pictures

emerged. Blood was washed up against the walls and pooled in the spaces between the floor

tiles. The children’s toys were blown into pieces and sit amid shell casings. These were scenes

she can never share with her children because no child should ever know such things; they are

her burden to bear.




                      (Photos from inside Jessica’s home, shared after October 7.)




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      362.    A few weeks after the attack, Jessica visited her home to collect some belongings.

Though the house had been processed and cleaned, scenes of terror remained evident

everywhere. Blood spots and bullet holes mar the house. From the walls to the children’s toys,

nothing remains untouched by terror.




                         (Photos of Jessica’s home, taken after October 7.)

      363.    Jessica has suffered immensely from the murder of her partner and the October 7

Attack. She has been unable to return to work because she is displaced, solely responsible for

her two young children, and emotionally unable to return to life as it was before. While Jessica

misses home terribly, she also struggles with the thought of ever returning to the place of such

immense destruction and Nadav’s murder. Jessica regularly sees a psychologist to help her cope

with the intense emotional pain that was a foreseeable and intended effect of the October 7

Attack on Kfar Aza, including the murder of Nadav.

      J.      Hamas murdered Cindy & Igal Flash.

      364.    Cindy and Igal Flash were wonderful parents and life partners. Cindy, from

Minnesota, was adventurous, outgoing, and full of energy. Igal was the son of Holocaust

refugees. He was stoic and reserved but resourceful, competent, and loving. Together, Cindy

and Igal raised three daughters in Nir Am, Keren, Maayan, and Tali. With their daughters

grown up, Cindy and Igal traveled around the world. They visited Tali in San Francisco when




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they could, and when they returned home, they lived in the same town as Keren and her children

while Maayan lived not far away, in Jerusalem.




                             (Cindy & Igal Flash, 67 and 66 years old.183)

         365.   2023 was an exciting time for Cindy and Igal Flash. They had renovated their

home in Kfar Aza and had finally moved back into it at the end of September. On October 6,

they were still furnishing and setting it up. Keren was raising an infant who was learning to sit,

crawl, eat, and walk.

         366.   Keren has lived near and remained close to her parents, Cindy and Igal,

throughout her life. She was especially close to her mother. Keren married and began a family

in Kfar Aza, in the same community where she was raised and where her mother and father still

lived.

         367.   Maayan also remained close to her parents. She leaned on her father for advice

on anything pragmatic—jobs, taxes, or anything financial or technical. And she spoke to her

mother regularly. They would speak for hours about anything or nothing, and especially about

politics.




183
      https://www.timesofisrael.com/cindy-and-igal-flash-67-66-they-were-my-inspiration.


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         368.   Tali was very close to her parents. After Tali moved to San Francisco, they

remained in close contact. Tali spoke with her mother and father a few times a week and they

visited her in San Francisco about once a year, if not more often. They had visited in Spring

2023 to celebrate the arrival of Tali’s first child. As a new mother, Tali leaned on her parents

for encouragement and advice. Tali visited them in Israel in Summer 2023. Cindy and Igal

made plans to visit more often so that they could be a significant presence in their grandchild’s

life.

         369.   Cindy, Igal, Keren, Maayan, and Tali shared such a loving and tight bond they

sometimes spoke in their own language: a collection of lines and quotes from pop culture and

shared experiences that they adapted regularly in conversation. Quoting a line was sometimes

all it took to make a point or get a laugh. For Maayan’s birthday, Cindy bought her a

subscription to the New York Times word games; Cindy, Keren, and Maayan would play daily

and tease each other or celebrate achievements as they played the spelling bee game.

         370.   On October 6, 2023, Keren, together with her husband and their baby, joined her

mother and father, Cindy and Igal, at their new home in Kfar Aza for dinner. They all spoke to

Tali by phone that night and they talked about Tali’s planned visit to Israel in December, during

the holiday season. Keren and her family returned home. That would be the last time she

would see her mother and father alive.

         371.   At about 6:30 a.m. on October 7, Keren awoke to sirens and explosions. She and

her family went to their safe room. At about the same time, Cindy and Igal went to theirs.

         372.   At around 9:00 a.m., Maayan was startled by rocket sirens sounding in Jerusalem.

She sheltered in her apartment (which had thick walls but no bomb shelter) and worried that the

situation might be even worse in Kfar Aza. She texted her mother. Cindy texted back “They




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are here.” Maayan was confused: Who was there? Cindy clarified: Terrorists were in Kfar Aza.

Maayan spent the rest of the day in fear.

      373.    Throughout the day, Keren and her husband learned of the horrors experienced by

their neighbors in Kfar Aza, as reports emerged of terrorists swarming throughout the kibbutz,

seemingly everywhere all at once, systematically breaking into homes and structures to

terrorize, torture, and murder men and women—elderly, parents, teenagers, children, toddlers,

and infants. Keren knew these victims—they were her lifelong friends and colleagues from the

community. As they cried out for help on the community WhatsApp group, nobody came to

help them. One by one, family by family, Hamas terrorists murdered them.

      374.    Keren kept in contact with her parents throughout the day. They reported that

they were in their safe room with their dog. At about 4:55 p.m., Keren’s father, Igal, sent a

picture to confirm that he, Cindy, and their dog were safe. They had been hiding in the safe

room for over 10 hours.

      375.    At about 5:00 p.m., reports emerged that the Israeli military was actively fighting

terrorists on the streets of Kfar Aza. A friend of Keren reported that she and her family had

been evacuated from Kfar Aza, under protection of the Israeli military.

      376.    At about the same time, Cindy posted in the community WhatsApp that terrorists

were attempting to break into her home.

      377.    A nearby camera captured images of Hamas-led terrorists wielding high-caliber

weapons approaching Cindy and Igal’s home.

      378.    After blasting their way in, the terrorists tried to enter the locked safe room where

Igal was holding the doorknob, trying to save his and his wife’s lives while placing his body in

front of Cindy’s. Committed to murdering the two unarmed occupants, the terrorists shot their




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military-grade weapons at the door. A round went straight through the door and instantly killed

Igal with a shot through his head.

       379.   At about 5:03 p.m., Cindy posted that the terrorists had broken through the safe

room door. Keren and Maayan did not see this post, though Keren’s husband did. Tali, in San

Francisco, was sleeping with her baby, unaware of the horror being inflicted on their family in

Israel. Her husband woke her up to tell her that there had been reports of terror activity coming

from Israel, but that Cindy and Igal had texted him that they were okay and that the army had

arrived.

       380.   As the terrorists broke into the safe room, Cindy moved to a corner of the room.

The terrorists pushed their way in and killed her.

       381.   A neighbor heard gunfire come from the home of Keren’s parents, and then

nothing. It is unknown what the terrorists did with the family’s dog.

       382.   At 5:04 p.m., Maayan saw that her father’s WhatsApp status showed him to be

online. At 5:08 p.m., her mother’s WhatsApp status showed her to be online. Keren and

Maayan assumed this meant they were ok.

       383.   Keren attempted to contact her parents. Keren’s message showed as received.

Keren felt some minor relief—her mother was apparently online and communicating. But

Keren’s message never showed as having been read. And then Cindy’s WhatsApp status

switched to offline. The terrorists had taken Cindy’s phone. It was later found, still on, in a

neighbor’s home. Unaware, Tali’s husband checked in on Cindy again. Tali waited for a reply.

None ever came.

       384.   When Maayan saw that her parents “offline” status had persisted for over 10

minutes, she became worried. She sent them a message to check on them. Although her phone




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showed that her message had been sent, the app did not indicate that it had been received.

Maayan became concerned. From San Francisco, her sister Tali contacted everyone she could

think of, including people in Kfar Aza, asking for someone to check on Cindy and Igal.

       385.    The family began to fear that Cindy and Igal had been abducted and taken to

Gaza. Maayan contacted the American embassy for help. Out of despair, Maayan and Tali

spent the rest of that night on the phone, saying nothing, and waiting for news about their

parents and Keren.

       386.    At about 10:00 p.m., still frightened, and terrified about the fate of her parents,

Keren was evacuated by the Israeli military from her house. The military moved Keren and her

husband and baby into an apartment with 16 other evacuees. They stayed there for a few hours

until the Israeli military was able to move them out of Kfar Aza. The evacuation proceeded in

fits and starts. Several times they were taken out, only to be rushed back inside after fighting

broke out again in the streets. Around 1:30 a.m. on October 8, the soldiers moved them to a gas

station just outside Kfar Aza. From there, Keren moved in with friends for a few days. She and

her family were then relocated to a hotel in central Israel, together with much of the Kfar Aza

community. They remained displaced there, struggling to care for a child in a single room of a

crowded hotel.

       387.    For days after October 7, Keren, Maayan, and Tali searched for their parents.

Keren begged the authorities to search Cindy and Igal’s house.

       388.    For three days, authorities could not tell Keren, Maayan, and Tali what had

happened at their parent’s house. Cindy and Igal’s bodies had remained in an area under control

of terrorists still fighting in Kfar Aza, out of reach of the Israeli authorities. The terrorists took

up strategic positions within Cindy & Igal’s home. Israeli soldiers were shot and killed in




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attempts to retake it. On Tuesday, October 10, Israeli authorities reached Cindy and Igal’s safe

room and found their bodies.

      389.      On Wednesday, October 11, Keren and Maayan received word that their parents

had been executed in their home and that their bodies had been recovered. They called Tali

together and informed her. Over a week later, Israeli authorities formally identified Cindy and

Igal and notified their family of the death. The funeral was held shortly thereafter, attended by

family, friends, neighbors, colleagues, and strangers.

      390.      Keren is enduring immense emotional pain and suffering from the executions of

her parents by Hamas-led terrorists. She has not returned to work and may never be able to,

both because of her pain and due to her displacement. Keren has lost the most central figures in

her life—her mother and father—whom she lived by all her life and had leaned on for support,

comfort, and assistance. She sees a psychologist but still struggles to sleep or eat properly.

      391.      For weeks after October 7, Maayan struggled to eat or sleep. She felt nauseous.

She lost weight and took sleeping pills while seeing psychiatrists, psychologists, and therapists.

She returned to work after a few months but finds it difficult to focus or perform. Her world has

been shattered.

      392.      For days after October 7, Tali did not eat. For the next month, she required

medication to get any sleep. She sees a therapist to cope. Tali has worked with her sisters for

weeks to find her parents’ missing dog, hoping that it had run away and could provide a living

connection to their murdered parents. The dog was never found. Tali was not able to return to

work for months. Every day remains a struggle. Tali is forlorn that her baby daughter will

never know her grandparents, nor will Cindy and Igal get to see Tali’s daughter grow up, as they

had hoped to.




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                                 FIRST CLAIM FOR RELIEF
               Material Support for Terrorist Acts By State Sponsor Of Terrorism
                                    Under 28 U.S.C. § 1605A
                                  By all U.S. Citizen Plaintiffs

        393.     Plaintiffs incorporate the allegations of paragraphs 1 through 392, as if set forth

here.

        394.     As a designated state sponsor of terrorism, Iran is “liable to” to Plaintiffs—who

are “national[s] of the United States”—“for personal injury or death caused by,” (28 U.S.C.

§ 1605A(c)), among other things, Iran’s “provision of material support or resources” for acts of

“torture, extrajudicial killing, and hostage taking,” (28 U.S.C. § 1605A(a)(i)).

        395.     Personal injury, under 28 U.S.C. § 1605A(c) includes, among other things,

intentional infliction of emotional distress caused by a terror attack that results in extrajudicial

killing and hostage taking. Maalouf v. Islamic Republic of Iran, No. 16-0280, 2020 WL

805726, at *5 (D.D.C. Feb. 18, 2020) (“Courts in this District have recognized … intentional

infliction of emotional distress as giving rise to liability under § 1605A(c).”).

        396.     Under 28 U.S.C. § 1605A(h)(3), the term “material support or resources” has the

meaning given to that phrase by 18 U.S.C. § 2339A(b)(1), which is: “any property, tangible or

intangible, or service, including currency or monetary instruments or financial securities,

financial services, lodging, training, expert advice or assistance, safehouses, false

documentation or identification, communications equipment, facilities, weapons, lethal

substances, explosives, personnel (1 or more individuals who may be or include oneself), and

transportation, except medicine or religious materials.”

        397.     Under 28 U.S.C. § 1605A(h)(7), the term “extrajudicial killing” has the meaning

given to that phrase in the note to 28 U.S.C. § 1350, which is: “a deliberated killing not

authorized by a previous judgment pronounced by a regularly constituted court affording all the



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judicial guarantees which are recognized as indispensable by civilized peoples [other than a]

killing that, under international law, is lawfully carried out under the authority of a foreign

nation.”

         398.   Under 28 U.S.C. § 1605A(h)(7), the term “torture” has the meaning given to it in

the note to 28 U.S.C. § 1350, which is: “any act, directed against an individual in the offender’s

custody or physical control, by which severe pain or suffering (other than pain or suffering

arising only from or inherent in, or incidental to, lawful sanctions), whether physical or mental,

is intentionally inflicted on that individual for such purposes as obtaining from that individual or

a third person information or a confession, punishing that individual for an act that individual or

a third person has committed or is suspected of having committed, intimidating or coercing that

individual or a third person, or for any reason based on discrimination of any kind.”

         399.   Under 28 U.S.C. § 1605A(h)(2), the term “hostage taking” has the meaning given

to that phrase by Article 1 of the International Convention Against the Taking of Hostages,

which is: “Any person who seizes or detains and threatens to kill, to injure or to continue to

detain another person … in order to compel a third party … to do or abstain from doing any act

as an explicit or implicit condition for the release of the hostage commits the offence of taking

of hostages.”184

         400.   Iran’s provision of funds, weapons, munitions, training, and intelligence to Hamas

and PIJ provided those terror groups with material support and resources used to murder,

torture, take hostage, and otherwise injure Plaintiffs, along with Israeli men, women, elderly,

teenagers, children, toddlers, infants, and others.




184
      https://treaties.un.org/doc/db/terrorism/english-18-5.pdf.


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        401.   Plaintiffs’ harms, as described above, include imminent fear of injury or death,

extreme emotional distress, property damage, loss of consortium, and enduring pain and

suffering, intentionally caused by (and indeed, a primary purpose of) the October 7 Attack.

                                SECOND CLAIM FOR RELIEF
                                       (Negligence)
                                      By all Plaintiffs

        402.   Plaintiffs incorporate the allegations of paragraphs 1 through 392, as if set forth

here.

        403.   Under the laws of the State of Israel, a party is liable for the tort of negligence if it

commits a negligent, reckless, or intentional act that a reasonable and prudent person would not

have committed under the same circumstances; or refrains from committing an act that a

reasonable and prudent person would have committed under the same circumstances or, in the

performance of his occupation, does not use the skill or exercise the degree of caution that a

reasonable person qualified to act in that occupation would have used or exercised under the

same circumstances, and thereby causes damage to any person (that a reasonable person would

have under the same circumstances foreseen that, in the ordinary course of events, was liable to

be) injured by the act or omission. § 35, Israeli Civil Wrongs Ordinance (New Version), 5712–

1968, 10 LSI 266, 271–272 (Isr.).

        404.   Iran intentionally (or at least recklessly and certainly with negligence) provided

funds, weapons, ammunition, military supplies, and training, among other things, to Hamas, PIJ,

and other terror organizations committed to attacking Israel and Israeli citizens.

        405.   Iran’s support directly contributed to, and caused, the October 7 Attack, including

with funds, training, and weapons supplied by Iran specifically for such an attack.




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          406.   Plaintiffs were foreseeably (indeed intentionally) harmed by Iran’s intentional (or

at least reckless or negligent) support of Hamas, PIJ, other terror organizations and the October

7 Attack,

          407.   Plaintiffs’ harms, as described above, include imminent fear of injury or death,

extreme emotional distress, property damage, loss of consortium, and enduring pain and

suffering, intentionally caused by (and indeed, a primary purpose of) the October 7 Attack.

                                   THIRD CLAIM FOR RELIEF
                                      (Aiding and Abetting)
                                         By all Plaintiffs

          408.   Plaintiffs incorporate the allegations of paragraphs 1 through 392, as if set forth

here.

          409.   Under the laws of the State of Israel, a party is liable in tort for Aiding and

Abetting when it participates in, assists, advises, or solicits an act or omission, committed or

about to be committed by another person, or who orders, authorizes, or ratifies such an act or

omission. § 12, Israeli Civil Wrongs Ordinance (New Version), 5712–1968, 10 LSI 266, 267

(Isr.).

          410.   Iran’s aforementioned conduct, committed intentionally (and certainly recklessly

or negligently) foreseeably and actually resulted in the above-described and intended harms

(including assault by imminent fear of injury or death, extreme emotional distress, property

damage, loss of consortium, and enduring pain and suffering) to Plaintiffs from the October 7

Attack.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully pray that the Court grant the following relief:

          1.     An award of compensatory, consequential, statutory, and punitive damages, in an

amount to be shown, over one billion dollars;


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       2.     An award for collection from the Victims of State Sponsors of Terrorism Fund

(34 U.S.C. § 20144);

       3.     An award of pre-judgment interest, post-judgment interest, attorneys’ fees and

costs; and

       4.     An award of any and all other relief the Court deems just and proper.

Dated: Washington, D.C.
       January 31, 2024
                                               By:    /s/ Dennis Hranitzky
                                                     QUINN EMANUEL URQUHART &
                                                     SULLIVAN, LLP

Alex B. Spiro (pro hac forthcoming)                  William A. Burck (D.C. Bar 979677)
Isaac Nesser (pro hac forthcoming)                   Christopher G. Michel (D.C. Bar 1034557)
David B. Adler (pro hac forthcoming)                 williamburck@quinnemanuel.com
Jonathan E. Feder (pro hac forthcoming)              christophermichel@quinnemanuel.com
Yehuda Goor (pro hac forthcoming)                    1300 I Street NW, Suite 900
Michael Wittmann (pro hac forthcoming)               Washington, D.C. 20005
Alexandra Weissfisch (pro hac forthcoming)           Telephone: (202) 538-8000
alexspiro@quinnemanuel.com                           Facsimile: (202) 538-8100
isaacnesser@quinnemanuel.com
davidadler@quinnemanuel.com                          Dennis H. Hranitzky (D.C. Bar NY0117)
jonathanfeder@quinnemanuel.com                       dennishranitzky@quinnemanuel.com
yehudagoor@quinnemanuel.com                          2755 E Cottonwood Pkwy, Suite 430
michaelwittmann@quinnemanuel.com                     Salt Lake City, UT 84121
alexandraweissfisch@quinnemanuel.com                 Telephone: (801) 515-7300
51 Madison Avenue, 22nd Floor                        Facsimile: (801) 515-7400
New York, NY 10010
Telephone: (212) 849-7000                            Robert M. Schwartz (D.C. Bar 412049)
Facsimile: (212) 849-7100                            robertschwartz@quinnemanuel.com
                                                     865 S. Figueroa St., 10th Floor
Andrew H. Schapiro (pro hac forthcoming)             Los Angeles, California 90017
andrewschapiro@quinnemanuel.com                      Telephone: (213) 443-3000
191 N Wacker Drive #2700                             Facsimile: (213) 443-3100
Chicago, IL 60606
Telephone: (312) 705-7400
Facsimile: (312) 705-7401


                                    Attorneys for Plaintiffs




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